                   Case 20-71637-pmb                          Doc 1          Filed 11/11/20 Entered 11/11/20 17:25:23                        Desc Main
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 Fill in this information to identify your case:


 United States Bankruptcy Court for the:
         Northern                District of:     Georgia
                                                (State)

 Case number (if known)                                                Chapter you are filing under:

                                                                            Chapter 7
                                                                            Chapter 11
                                                                            Chapter 12                                                         Check if this is an
                                                                            Chapter 13                                                         amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,
"the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:     Identify Yourself
                                          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name                        Treasure                                                            Thomas
                                          First name                                                         First name
      Write the name that is on             Hutchinson
      your government-issued
      picture identification (for         Middle name                                                        Middle name
      example, your driver's                Ketchum                                                             Ketchum
      license or passport                 Last name                                                          Last name
      Bring your picture
      identification to your              Suffix (Sr., Jr., II, III)                                         Suffix (Sr., Jr., II, III)
      meeting with the trustee.

 2.   All other names you
      have used in the last               First name                                                         First name
      8 years
                                          Middle name                                                        Middle name
      Include your married or
      maiden names.
                                          Last name                                                          Last name

                                          First name                                                         First name

                                          Middle name                                                        Middle name

                                          Last name                                                          Last name
 3.   Only the last 4 digits               xxx - xx-               0161                                        xxx - xx-              2880
      of your Social
      Security number or                   OR                                                                  OR
      federal Individual
      Taxpayer                             9 xx - xx-                                                          9 xx - xx-
      Identification number
      (ITIN)

           {initials:codebtor}                                                                                                                 {initials:debtor}

      Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                  page 1


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Debtor 1 Treasure                          Hutchinson                   Ketchum                     Case number (if known)
           First Name                      Middle Name                  Last Name


                                About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                I have not used any business names or EINs.                           I have not used any business names or EINs.
     and Employer
     Identification
     Numbers (EIN) you          Business name                                                         Business name
     have used in the last
     8 years                    Business name                                                         Business name
     Include trade names and
     doing business as names    EIN                                                                   EIN

                                EIN                                                                   EIN

5.   Where you live                                                                                    If Debtor 2 lives at a different address:
                                2892 Golden Club Bend                                                 2892 Golden Club Bend
                                Number          Street                                                Number          Street


                                Austell                  Georgia             30106                    Austell                  Georgia              30106
                                City                     State               Zip Code                 City                     State                Zip Code

                                Cobb                                                                  Cobb
                                County                                                                County
                                If your mailing address is different from the one                     If Debtor 2’s mailing address is different from yours,
                                above, fill it in here. Note that the court will send any             fill it in here. Note that the court will send any notices to
                                notices to you at this mailing address.                               this mailing address.

                                Number               Street                                           Number                 Street

                                P.O. Box                                                              P.O. Box

                                City                          State             Zip Code              City                            State             Zip Code

6.   Why you are                Check one:                                                            Check one:
     choosing this district
     to file for bankruptcy            Over the last 180 days before filing this petition, I have            Over the last 180 days before filing this petition, I have
                                       lived in this district longer than in any other district.             lived in this district longer than in any other district.
                                       I have another reason. Explain. (See 28 U.S.C. §§ 1408.)              I have another reason. Explain. (See 28 U.S.C. §§ 1408.)




          {initials:codebtor}                                                                                                                     {initials:debtor}

     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                              page 2
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Debtor 1 Treasure                          Hutchinson                  Ketchum                     Case number (if known)
            First Name                     Middle Name                 Last Name

Part 2:     Tell the Court About Your Bankruptcy Case
7.    The chapter of the   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
      Bankruptcy Code you Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                   Chapter 7
                                    Chapter 11
                                    Chapter 12
                                    Chapter 13

8.    How you will pay the          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for
      fee                           more details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash,
                                    cashier's check, or money order. If your attorney is submitting your payment on your behalf, your attorney
                                    may pay with a credit card or check with a pre-printed address.
                                    I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                    Individuals to Pay Your Filing Fee in Installments (Official Form 103A).
                                    I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                    judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of
                                    the official poverty line that applies to your family size and you are unable to pay the fee in installments). If
                                    you choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official
                                    Form 103B) and file it with your petition.

9.    Have you filed for            No.
      bankruptcy within the
      last 8 years?                 Yes. District                                           When                       Case number
                                                                                                   MM / DD / YYYY
                                           District                                         When                       Case number
                                                                                                   MM / DD / YYYY
                                           District                                         When                       Case number
                                                                                                   MM / DD / YYYY

10.   Are any bankruptcy            No.
      cases pending or
      being filed by a              Yes.   Debtor                                                                      Relationship to you
      spouse who is not                    District                                         When                       Case number, if known
      filing this case with                                                                        MM / DD / YYYY
      you, or by a business                Debtor                                                                      Relationship to you
      partner, or by an
                                           District                                         When                       Case number, if known
      affiliate?                                                                                   MM / DD / YYYY

11.   Do you rent your              No. Go to line 12.
      residence?
                                    Yes. Has your landlord obtained an eviction judgment against you?
                                                No. Go to line 12.
                                                Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.




           {initials:codebtor}                                                                                                                 {initials:debtor}

      Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                           page 3
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Debtor 1 Treasure                         Hutchinson                   Ketchum                      Case number (if known)
            First Name                    Middle Name                  Last Name

Part 3:     Report About Any Businesses You Own as a Sole Proprietor
12.   Are you a sole                    No. Go to Part 4.
      proprietor of any full-
      or part-time                      Yes. Name and location of business
      business?
      A sole proprietorship                     Name of business, if any
      is a business you
      operate as an                             Number                             Street
      individual, and is not a
      separate legal entity
      such as a corporation,
      partnership, or LLC.
      If you have more than                     City                                        State                            Zip Code
      one sole
      proprietorship, use a                     Check the appropriate box to describe your business:
      separate sheet and
      attach it to this                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))
      petition.                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13.   Are you filing under        If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      Chapter 11 of the           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      Bankruptcy Code,            debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      and are you a small         of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      business debtor or          procedure in 11 U.S.C. § 1116(1)(B).
      debtor as defined by
      11 U.S. C § 1182(1)?              No. I am not filing under Chapter 11.
      For a definition of               No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
      small business debtor,                   Bankruptcy Code.
      see 11 U.S.C. §
      101(51D).                         Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                               Code and I do not choose to proceed under Subchapter V of Chapter 11.
                                        Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in § 1182(1) of the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention
14.   Do you own or have               No.
      any property that
      poses or is alleged to           Yes.   What is the hazard?
      pose a threat of
      imminent and                            If immediate attention is needed, why is it needed?
      identifiable hazard to
      public health or
      safety? Or do you                       Where is the property?
      own any property                                                 Number                       Street
      that needs immediate
      attention?
      For example, do you
      own perishable goods,
                                                                       City                                   State                     Zip Code
      or livestock that must
      be fed, or a building
      that needs urgent
      repairs?
            {initials:codebtor}                                                                                                            {initials:debtor}

      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                        page 4
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Debtor 1 Treasure                         Hutchinson                  Ketchum                      Case number (if known)
            First Name                    Middle Name                 Last Name

Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                  About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

15.   Tell the court              You must check one:                                                You must check one:
      whether you have               I received a briefing from an approved credit                       I received a briefing from an approved credit
      received briefing              counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      about credit                   filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
      counseling.                    certificate of completion.                                          certificate of completion.
      The law requires that          Attach a copy of the certificate and the payment plan,              Attach a copy of the certificate and the payment plan,
      you receive a briefing         if any, that you developed with the agency.                         if any, that you developed with the agency.
      about credit                   I received a briefing from an approved credit                       I received a briefing from an approved credit
      counseling before you          counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      file for bankruptcy.           filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
      You must truthfully            certificate of completion.                                          certificate of completion.
      check one of the
                                     Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      following choices. If          you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      you cannot do so, you          plan, if any.                                                       plan, if any.
      are not eligible to file.
                                     I certify that I asked for credit counseling services               I certify that I asked for credit counseling services
      If you file anyway, the        from an approved agency, but was unable to                          from an approved agency, but was unable to
      court can dismiss your         obtain those services during the 7 days after I                     obtain those services during the 7 days after I
      case, you will lose            made my request, and exigent circumstances                          made my request, and exigent circumstances
                                     merit a 30-day temporary waiver of the                              merit a 30-day temporary waiver of the
      whatever filing fee you        requirement.                                                        requirement.
      paid, and your
      creditors can begin            To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
      collection activities          requirement, attach a separate sheet explaining what                requirement, attach a separate sheet explaining what
      again.                         efforts you made to obtain the briefing, why you were               efforts you made to obtain the briefing, why you were
                                     unable to obtain it before you filed for bankruptcy, and            unable to obtain it before you filed for bankruptcy, and
                                     what exigent circumstances required you to file this                what exigent circumstances required you to file this
                                     case.                                                               case.
                                     Your case may be dismissed if the court is dissatisfied             Your case may be dismissed if the court is dissatisfied
                                     with your reasons for not receiving a briefing before               with your reasons for not receiving a briefing before
                                     you filed for bankruptcy.                                           you filed for bankruptcy.
                                     If the court is satisfied with your reasons, you must still         If the court is satisfied with your reasons, you must still
                                     receive a briefing within 30 days after you file. You               receive a briefing within 30 days after you file. You
                                     must file a certificate from the approved agency, along             must file a certificate from the approved agency, along
                                     with a copy of the payment plan you developed, if any.              with a copy of the payment plan you developed, if any.
                                     If you do not do so, your case may be dismissed.                    If you do not do so, your case may be dismissed.
                                     Any extension of the 30-day deadline is granted only                Any extension of the 30-day deadline is granted only
                                     for cause and is limited to a maximum of 15 days.                   for cause and is limited to a maximum of 15 days.
                                     I am not required to receive a briefing about credit                I am not required to receive a briefing about credit
                                     counseling because of:                                              counseling because of:
                                         Incapacity.     I have a mental illness or a mental                  Incapacity.    I have a mental illness or a mental
                                                         deficiency that makes me                                            deficiency that makes me
                                                         incapable of realizing or making                                    incapable of realizing or making
                                                         rational decisions about finances.                                  rational decisions about finances.
                                          Disability. My physical disability causes me to                     Disability.    My physical disability causes me to
                                                         be unable to participate in a                                       be unable to participate in a
                                                         briefing in person, by phone, or                                    briefing in person, by phone, or
                                                         through the internet, even after I                                  through the internet, even after I
                                                         reasonably tried to do so.                                          reasonably tried to do so.
                                          Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                         duty in a military combat zone.                                     duty in a military combat zone.
                                     If you believe you are not required to receive a briefing           If you believe you are not required to receive a briefing
                                     about credit counseling, you must file a motion for                 about credit counseling, you must file a motion for
                                     waiver of credit counseling with the court.                         waiver of credit counseling with the court.


           {initials:codebtor}                                                                                                               {initials:debtor}

      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1 Treasure                        Hutchinson                  Ketchum                    Case number (if known)
            First Name                   Middle Name                 Last Name

Part 6:  Answer These Questions for Reporting Purposes
16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
    you have?                  "incurred by an individual primarily for a personal, family, or household purpose."
                                   No. Go to line 16b.
                                   Yes. Go to line 17.
                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                               money for a business or investment or through the operation of the business or investment.
                                   No. Go to line 16c.
                                   Yes. Go to line 17.
                          16c. State the type of debts you owe that are not consumer debts or business debts.

17.   Are you filing under           No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
      Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      after any exempt                    expenses are paid that funds will be available to distribute to unsecured creditors?
      property is excluded
      and administrative                      No.
      expenses are paid that                  Yes.
      funds will be available
      for distribution to
      unsecured creditors?
18.   How many creditors             1-49                                        1,000-5,000                                25,001-50,000
      do you estimate that           50-99                                       5,001-10,000                               50,001-100,000
      you owe?                       100-199                                     10,001-25,000                              More than 100,000
                                     200-999
19.   How much do you                $0-$50,000                                  $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets           $50,001-$100,000                            $10,000,001-$50 million                    $1,000,000,001-$10 billion
      to be worth?                   $100,001-$500,000                           $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                     $500,001-$1 million                         $100,000,001-$500 million                  More than $50 billion
20.   How much do you                $0-$50,000                                  $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your                  $50,001-$100,000                            $10,000,001-$50 million                    $1,000,000,001-$10 billion
      liabilities to be?             $100,001-$500,000                           $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                     $500,001-$1 million                         $100,000,001-$500 million                  More than $50 billion
Part 7:     Sign Below
For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                 correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                 under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill
                                 out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                 connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
                                 both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                 û       {signature:debtor}
                                      Signature of Debtor 1
                                                                                                  û        {signature:codebtor}
                                                                                                        Signature of Debtor 2

                                      Executed on           11/11/2020
                                                           {date:debtor____________}                    Executed on         11/11/2020
                                                                                                                           {date:codebtor____________}
                                                             MM / DD / YYYY                                                  MM / DD / YYYY




           {initials:codebtor}                                                                                                           {initials:debtor}

      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1 Treasure                     Hutchinson                  Ketchum                      Case number (if known)
         First Name                   Middle Name                 Last Name


For your attorney, if you     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
are represented by one        eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                              relief available under each chapter for which the person is eligible. I also certify that I have delivered to the
If you are not                debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I
represented by an             have no knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
attorney, you do not
need to file this page.       û       {signature:attorney}
                                   Signature of Attorney for Debtor
                                                                                                Date        11/11/2020
                                                                                                           {date:attorney____________}
                                                                                                             MM / DD / YYYY



                                   Greg Bowen
                                   Printed name

                                   Semrad Law Firm
                                   Firm name
                                   235 Peachtree St Ne
                                   Number     Street
                                   Suite 300

                                   Atlanta                                           Georgia                                30303
                                   City                                              State                                  Zip Code

                                   Contact phone               4043818642                  Email address                gbowen@semradlaw.com


                                   Bar number                                                            State




        {initials:codebtor}                                                                                                              {initials:debtor}

  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                          page 7
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                                                                      Document     Page 8 of 74
Fill in this information to identify your case:
Debtor 1                Treasure                      Hutchinson               Ketchum
                        First Name                    Middle Name              Last Name
Debtor 2                Thomas                                                 Ketchum
(Spouse, if filing)     First Name                    Middle Name              Last Name
United States Bankruptcy Court for the:       Northern                    District of Georgia
                                                                                      (State)
Case number
(If known)
                                                                                                                                                     Check if this is an
Official Form 107                                                                                                                                    amended filing


Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1.      What is your current marital status?

                Married
                Not married

 2.      During the last 3 years, have you lived anywhere other than where you live now?

                No
                Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


                Debtor 1:                                        Dates Debtor 1 lived           Debtor 2:                             Dates Debtor 2 lived
                                                                 there                                                                there

                                                                                                       Same as Debtor 1                     Same as Debtor 1


                Number Street                                    From                           Number Street                         From
                                                                 To                                                                   To


                City                 State     Zip Code                                         City               State   Zip Code
                                                                                                       Same as Debtor 1                     Same as Debtor 1


                Number Street                                    From                           Number Street                         From
                                                                 To                                                                   To


                City                 State     Zip Code                                         City               State   Zip Code

 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
    and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




             {initials:codebtor}                                                                                                           {initials:debtor}

      Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 1



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Debtor 1 Treasure                          Hutchinson                     Ketchum                       Case number (if known)
            First Name                     Middle Name                    Last Name

Part 2:    Explain the Sources of Your Income
4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time
      activities. If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
            No
            Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2


                                                  Sources of income                   Gross income               Sources of income       Gross income
                                                  Check all that apply.               (before deductions and     Check all that apply.   (before deductions and
                                                                                      exclusions)                                        exclusions)

                                                        Wages,                                                        Wages,
        From January 1 of current year until            commissions,                                                  commissions,
        the date you filed for bankruptcy:              bonuses, tips                                                 bonuses, tips
                                                        Operating a                                                   Operating a
                                                        business                                                      business
                                                        Wages,                            $70000.00                   Wages,                  $35000.00
        For last calendar year:                         commissions,                                                  commissions,
        (January 1 to December 31, 2019 )               bonuses, tips                                                 bonuses, tips
                                   YYYY                 Operating a                                                   Operating a
                                                        business                                                      business
                                                        Wages,                            $55000.00                   Wages,                  $45000.00
        For the calendar year before that:              commissions,                                                  commissions,
        (January 1 to December 31, 2018 )               bonuses, tips                                                 bonuses, tips
                                    YYYY                Operating a                                                   Operating a
                                                        business                                                      business

5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
   public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
   filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                                      Debtor 2


                                                    Sources of income                  Gross income from          Sources of income       Gross income from
                                                    Describe below.                    each source                Describe below.         each source
                                                                                       (before deductions                                 (before deductions and
                                                                                       and exclusions)                                    exclusions)

                                                         COVID Stimulus                     $2,400.00
          From January 1 of current year until
          the date you filed for bankruptcy:

                                                                                               $0.00
          For last calendar year:
          (January 1 to December 31, 2019 )
                                      YYYY
                                                                                               $0.00
          For the calendar year before that:
          (January 1 to December 31, 2018 )
                                       YYYY




           {initials:codebtor}                                                                                                               {initials:debtor}

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Debtor 1 Treasure                                 Hutchinson                 Ketchum                     Case number (if known)
           First Name                             Middle Name                Last Name

Part 3:   List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual
                 primarily for a personal, family, or household purpose."
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        No. Go to line 7.
                        Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                                total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                                child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                 * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.
                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                                that creditor. Do not include payments for domestic support obligations, such as child support and
                                alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                Dates of payment          Total amount paid           Amount you still owe    Was this payment
                                                                                                                                              for...
          Creditor's Name                                                                                                                          Mortgage
                                                                                                                                                   Car
          Number Street
                                                                                                                                                   Credit card
                                                                                                                                                   Loan repayment
          City                   State         Zip Code                                                                                            Suppliers or
                                                                                                                                                   vendors
                                                                                                                                                   Other

          Creditor's Name                                                                                                                          Mortgage
                                                                                                                                                   Car
          Number Street
                                                                                                                                                   Credit card
                                                                                                                                                   Loan repayment
          City                   State         Zip Code                                                                                            Suppliers or
                                                                                                                                                   vendors
                                                                                                                                                   Other

          Creditor's Name                                                                                                                          Mortgage
                                                                                                                                                   Car
          Number Street
                                                                                                                                                   Credit card
                                                                                                                                                   Loan repayment
          City                   State         Zip Code                                                                                            Suppliers or
                                                                                                                                                   vendors
                                                                                                                                                   Other




          {initials:codebtor}                                                                                                                  {initials:debtor}

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           First Name                       Middle Name                 Last Name


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No
           Yes. List all payments to an insider.
                                                             Dates of          Total amount       Amount you          Reason for this payment
                                                             payment           paid               still owe


          Insider's Name

          Number Street


          City                  State     Zip Code


          Insider's Name

          Number Street


          City                  State     Zip Code

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                             Dates of          Total amount       Amount you          Reason for this payment
                                                             payment           paid               still owe
                                                                                                                      Include creditor's name


          Insider's Name

          Number Street



          City                  State     Zip Code


          Insider's Name

          Number Street



          City                  State     Zip Code




          {initials:codebtor}                                                                                                                   {initials:debtor}

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Debtor 1 Treasure                           Hutchinson                    Ketchum                      Case number (if known)
           First Name                       Middle Name                   Last Name

Part 4:   Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
   contract disputes.

          No
          Yes. Fill in the details.
                                                             Nature of the case               Court or agency                            Status of the case
            Case title                                       Civil                            Cobb County Magistrate Court                    Pending
            Republic Finance v. Ketchum
                                                                                              Court Name
                                                                                                                                              On appeal
            Case number                                                                       32 Waddell St
            20-J-08684                                                                        NumberStreet                                    Concluded
                                                                                              Marietta      Georgia     30090
                                                                                              City          State      Zip Code
            Case title                                                                                                                        Pending
                                                                                              Court Name
                                                                                                                                              On appeal
            Case number
                                                                                              NumberStreet                                    Concluded

                                                                                              City           State        Zip Code

10.   Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
                                                                      Describe the property                                     Date            Value of the
                                                                                                                                                property


            Creditor's Name
                                                                      Explain what happened
            Number Street
                                                                         Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.
            City                 State            Zip Code
                                                                         Property was attached, seized, or levied.
                                                                      Describe the property                                     Date            Value of the
                                                                                                                                                property


            Creditor's Name
                                                                      Explain what happened
            Number Street
                                                                         Property was repossessed.
                                                                         Property was foreclosed.
                                                                         Property was garnished.
            City                 State            Zip Code
                                                                         Property was attached, seized, or levied.




          {initials:codebtor}                                                                                                                    {initials:debtor}

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Debtor 1 Treasure                             Hutchinson                Ketchum                    Case number (if known)
           First Name                         Middle Name               Last Name


11.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

            No
            Yes. Fill in the details.
                                                                   Describe the action the creditor took                    Date action    Amount
                                                                                                                            was taken


            Creditor's Name

            Number Street
                                                                   Last 4 digits of account number: XXXX-


            City                 State           Zip Code

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
    appointed receiver, a custodian, or another official?

            No
            Yes

Part 5:    List Certain Gifts and Contributions

13.   Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

             No
             Yes. Fill in the details for each gift.
            Gifts with a total value of more than $600              Describe the gifts                                      Dates you      Value
            per person                                                                                                      gave the
                                                                                                                            gifts


            Person to Whom You Gave the Gift



            Number Street

            City                 State           Zip Code
            Person's relationship to you



            Person to Whom You Gave the Gift



            Number Street

            City                 State           Zip Code
            Person's relationship to you




          {initials:codebtor}                                                                                                               {initials:debtor}

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Debtor 1 Treasure                            Hutchinson                    Ketchum                    Case number (if known)
           First Name                        Middle Name                   Last Name


14.   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                       Describe what you contributed                            Date you        Value
            that total more than $600                                                                                          contributed


            Charity's Name


            Number Street

            City                  State         Zip Code

Part 6:    List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
    gambling?
            No
            Yes. Fill in the details.
            Describe the property you lost and                        Describe any insurance coverage for the loss             Date of your    Value of property
            how the loss occurred                                     Include the amount that insurance has paid. List         loss            lost
                                                                      pending insurance claims on line 33 of Schedule
                                                                      A/B: Property.


Part 7:    List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
    about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
            No
            Yes. Fill in the details.
                                                                      Description and value of any property                    Date payment     Amount of
                                                                      transferred                                              or transfer      payment
                                                                                                                               was made
            Semrad Law Firm                                           Attorney's Fee - 0.00                                    11/11/2020       $0.00
            Person Who Was Paid
            235 Peachtree St Ne
            Number Street
            Suite 300
            Atlanta              Georgia         30303
            City                 State          Zip Code

            Email or website address
            None
            Person Who Made the Payment, if Not You

            Person Who Was Paid

            Number Street



            City                  State         Zip Code

            Email or website address

            Person Who Made the Payment, if Not You




          {initials:codebtor}                                                                                                                   {initials:debtor}

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         First Name                       Middle Name                Last Name


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
    help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.
                                                                Description and value of any property                      Date             Amount of payment
                                                                transferred                                                payment or
                                                                                                                           transfer was
                                                                                                                           made

          Person Who Was Paid

          Number Street



          City                  State        Zip Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in
    the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include gifts
    and transfers that you have already listed on this statement.

          No
          Yes. Fill in the details.
                                                                Description and value of property         Describe any property or                     Date
                                                                transferred                               payments received or debts paid              transfer was
                                                                                                          in exchange                                  made

          Person Who Received Transfer

          Number Street



          City                State          Zip Code
          Person's relationship to you


          Person Who Received Transfer

          Number Street



          City                State          Zip Code
          Person's relationship to you


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary?
    (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.
                                                                 Description and value of the property transferred                                     Date
                                                                                                                                                       transfer was
                                                                                                                                                       made

           Name of trust




        {initials:codebtor}                                                                                                                  {initials:debtor}

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Debtor 1 Treasure                           Hutchinson                Ketchum                       Case number (if known)
           First Name                       Middle Name               Last Name

Part 8:   List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
    cooperatives, associations, and other financial institutions.

            No
            Yes. Fill in the details.
                                                              Last 4 digits of account        Type of account or                 Date                Last balance
                                                              number                          instrument                         account was         before
                                                                                                                                 closed, sold,       closing or
                                                                                                                                 moved, or           transfer
                                                                                                                                 transferred
                                                              XXXX-                                  Checking
            Person Who Was Paid
                                                                                                     Savings
            Number Street                                                                            Money market
                                                                                                     Brokerage
                                                                                                     Other
            City                State        Zip Code
                                                              XXXX-                                  Checking
            Person Who Was Paid
                                                                                                     Savings
            Number Street                                                                            Money market
                                                                                                     Brokerage
                                                                                                     Other
            City                State        Zip Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or
    other valuables?

            No
            Yes. Fill in the details.
                                                            Who else had access to it?                       Describe the contents                    Do you still
                                                                                                                                                      have it?

            Name of Financial Institution                   Name                                                                                                No
                                                                                                                                                                Yes
            Number Street                                   Number     Street

                                                            City               State     Zip Code

            City                State       Zip Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
                                                            Who else had access to it?                       Describe the contents                    Do you still
                                                                                                                                                      have it?

            Name of Storage Facility                        Name                                                                                                No
                                                                                                                                                                Yes
            Number Street                                   Number    Street

                                                            City               State     Zip Code

            City                State       Zip Code




          {initials:codebtor}                                                                                                               {initials:debtor}

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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
            First Name                       Middle Name                Last Name

Part 9:    Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

             No
             Yes. Fill in the details.
                                                               Where is the property?                          Describe the contents                      Value

             Owner's Name                                      NumberStreet

             Number Street

                                                               City            State        Zip Code

             City                State       Zip Code

Part 10:     Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:
          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
          hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
          including statutes or regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
          or used to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance,
          toxic substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

             No
             Yes. Fill in the details.
                                                               Governmental unit                               Environmental law, if you know it           Date of
                                                                                                                                                           notice

             Name of site                                      Governmental unit

             Number Street                                     NumberStreet

                                                               City            State        Zip Code

             City                State      Zip Code

25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
                                                               Governmental unit                               Environmental law, if you know it           Date of
                                                                                                                                                           notice

             Name of site                                      Governmental unit

             Number Street                                     NumberStreet

                                                               City            State        Zip Code

             City                State      Zip Code




           {initials:codebtor}                                                                                                                   {initials:debtor}

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Debtor 1 Treasure                               Hutchinson                 Ketchum                      Case number (if known)
            First Name                          Middle Name                Last Name


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
                                                                 Court or agency                               Nature of the case                         Status of the
                                                                                                                                                          case
             Case title
                                                                                                                                                                 Pending
                                                                 Court Name
                                                                                                                                                                 On appeal
             Case number                                         NumberStreet
                                                                                                                                                                 Concluded
                                                                 City            State       Zip Code

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                     A member of a limited liability company (LLC) or limited liability partnership (LLP)
                     A partner in a partnership
                     An officer, director, or managing executive of a corporation
                     An owner of at least 5% of the voting or equity securities of a corporation
             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business               Employer Identification number Do not
                                                                                                                          include Social Security number or ITIN.
                                                                                                                          EIN:
              Business Name

              Number Street                                                                                               Dates business existed
                                                                        Name of accountant or bookkeeper
              City                  State           Zip Code                                                              From            To




                                                                        Describe the nature of the business               Employer Identification number Do not
                                                                                                                          include Social Security number or ITIN.
                                                                                                                          EIN:
              Business Name

              Number Street                                                                                               Dates business existed
                                                                        Name of accountant or bookkeeper
              City                  State           Zip Code                                                              From            To




                                                                        Describe the nature of the business               Employer Identification number Do not
                                                                                                                          include Social Security number or ITIN.
                                                                                                                          EIN:
              Business Name

              Number Street                                                                                               Dates business existed
                                                                        Name of accountant or bookkeeper
              City                  State           Zip Code                                                              From            To




           {initials:codebtor}                                                                                                                     {initials:debtor}

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Debtor 1 Treasure                                    Hutchinson               Ketchum                    Case number (if known)
            First Name                               Middle Name              Last Name


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
    creditors, or other parties.

             No
             Yes. Fill in the details below.
                                                                            Date issued

              Name                                                          MM/DD/YYYY


              Number Street

              City                        State           Zip Code

Part 12:     Sign Below
   I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
   true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with
   a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                      û             {signature:debtor}
                                 Signature of Debtor 1
                                                                                                   û       {signature:codebtor}
                                                                                                        Signature of Debtor 2

                                       11/11/2020
                                 Date {date:debtor____________}                                               11/11/2020
                                                                                                        Date {date:codebtor____________}

   Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
        No
        Yes

   Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
        No
           Yes. Name of person                                                                            Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                          Declaration, and Signature (Official Form 119).




           {initials:codebtor}                                                                                                                       {initials:debtor}

   Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 12
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 Fill in this information to identify your case:
 Debtor 1                Treasure                         Hutchinson                Ketchum
                         First Name                       Middle Name               Last Name
 Debtor 2                Thomas                                                     Ketchum
 (Spouse, if filing)     First Name                       Middle Name               Last Name
 United States Bankruptcy Court for the:         Northern                     District of Georgia
                                                                                          (State)
 Case number
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106A/B                                                                                                                             amended filing

Schedule A/B: Property                                                                                                                                                   12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2
                Yes. Where is the property?
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.1         2892 Golden Club Bend                                   Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                2892 Golden Club Bend                                   Duplex or multi-unit building
                Number        Street                                    Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home                  $215000.00               $215000.00
                Austell               Georgia     30106                 Land
                City                  State       Zip Code              Investment property                          Describe the nature of your ownership
                                                                                                                     interest (such as fee simple, tenancy by
                Cobb                                                    Timeshare                                    the entireties, or a life estate), if known.
                County                                                  Other
                                                                                                                     Fee Simple
                                                                     Who has an interest in the property? Check          Check if this is community property
                                                                     one.                                                (see instructions)
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification
                                                                     number:
      If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.2                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number              Street                                                                           Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                     State      Zip Code            Other
                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:

              {initials:codebtor}                                                                                                                {initials:debtor}

   Official Form 106A/B                                                       Schedule A/B: Property                                                         page 1


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 Debtor 1 Treasure                                Hutchinson                     Ketchum                           Case number (if known)
              First Name                          Middle Name                    Last Name
                                                                 What is the property? Check all that apply.                       Do not deduct secured claims or exemptions. Put
 1.3                                                                  Single-family home                                           the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                          Creditors Who Have Claims Secured by Property.
                                                                      Duplex or multi-unit building
                                                                      Condominium or cooperative                                   Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                      Manufactured or mobile home
                                                                      Land
       Number              Street                                                                                                  Describe the nature of your ownership
                                                                      Investment property
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                      Timeshare                                                    the entireties, or a life estate), if known.
       City                     State         Zip Code                Other

                                                                                                                                        Check if this is community property
                                                                 Who has an interest in the property? Check one.                        (see instructions)
                                                                      Debtor 1 only
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only
                                                                      At least one of the debtors and another
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                       $215000.00
   you have attached for Part 1. Write that number here.
   ...................................................................................................


Part 2:       Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No
        Yes
       3.1 Make                              Mercedes                  Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             E-320                    one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2002                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Approximate mileage:              250000
                                                                           Debtor 2 only                                            Current value of the    Current value of the
              Other information:                                           Debtor 1 and Debtor 2 only                               entire property?        portion you own?
              2002 Mercedes E-320                                                                                                   $1050.00                $1050.00
                                                                           At least one of the debtors and another
                                                                          Check if this is community property (see
                                                                          instructions)
       3.2 Make                              Mercedes                  Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             SLK 320                  one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2001                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Approximate mileage:              95000
                                                                           Debtor 2 only                                            Current value of the    Current value of the
              Other information:                                           Debtor 1 and Debtor 2 only                               entire property?        portion you own?
              2001 Mercedes SLK 320                                                                                                 $3787.00                $3787.00
                                                                           At least one of the debtors and another
                                                                           Check if this is community property (see
                                                                           instructions)




          {initials:codebtor}                                                                                                                                   {initials:debtor}

  Official Form 106A/B                                                            Schedule A/B: Property                                                                    page 2
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Debtor 1 Treasure                                    Hutchinson                       Ketchum                           Case number (if known)
             First Name                              Middle Name                      Last Name
       3.3 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       3.4 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            No
            Yes
       4.1 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       4.2 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                               $4837.00
    you have attached for Part 2. Write that number here ...................................................................................................




            {initials:codebtor}                                                                                                                                      {initials:debtor}

    Official Form 106A/B                                                              Schedule A/B: Property                                                                     page 3
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Debtor 1 Treasure                                      Hutchinson                          Ketchum                              Case number (if known)
            First Name                                 Middle Name                         Last Name

Part 3:    Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                 or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
   No
   Yes. Describe...              Household Goods & Furnishings                                                                                                    $4500.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
   No
   Yes. Describe...              Electronics                                                                                                                      $2000.00

 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   No
   Yes. Describe...

 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
   No
   Yes. Describe...

 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   No
   Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   No
   Yes. Describe...              Clothing                                                                                                                         $1000.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
            gold, silver
   No
   Yes. Describe...              Jewelry & Watches                                                                                                                $1000.00

 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
   No
   Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list
   No
   Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                   $8500.00
 for Part 3. Write that number here ..........................................................................................................................




           {initials:codebtor}                                                                                                                                                  {initials:debtor}

 Official Form 106A/B                                                                      Schedule A/B: Property                                                                           page 4
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Debtor 1 Treasure                                         Hutchinson                              Ketchum                   Case number (if known)
           First Name                                     Middle Name                             Last Name

Part 4:   Describe Your Financial Assets
                                                                                                                                                     Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                          portion you own?
                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                     or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
           No
           Yes ....................................................................................................
                                                                                                   Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
           No
                                                                                          Institution name:
           Yes

                                         17.1. Checking account:                          Checking Account - Wells Fargo                             $1.00
                                         17.2. Checking account:                          Thomas Ketchum - LGE Bank                                  $200.00
                                         17.3. Savings account:
                                         17.4. Savings account:
                                         17.5. Certificates of deposit:
                                         17.6. Other financial account:
                                         17.7. Other financial account:
                                         17.8. Other financial account:
                                         17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
                                         Institution or issuer name:
           Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
           No
                                         Name of entity                                                                    % of ownership:
           Yes. Give specific
           information about
           them




          {initials:codebtor}                                                                                                                                  {initials:debtor}

 Official Form 106A/B                                                                             Schedule A/B: Property                                                   page 5
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Debtor 1 Treasure                             Hutchinson               Ketchum                     Case number (if known)
         First Name                           Middle Name              Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about    Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                               Type of account:                    Institution name:
          Yes. List each
          account              401(k) or similar plan:
          separately.
                               Pension plan:
                               IRA:
                               Retirement account:
                               Keogh:
                               Additional account:

                               Additional account:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
        No                                                    Institution name:
          Yes....              Electric:
                               Gas:
                               Heating oil:
                               Security deposit on rental unit:
                               Prepaid rent:
                               Telephone:
                               Water:
                               Rented furniture:
                               Other:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                               Issuer name and description:
          Yes....




        {initials:codebtor}                                                                                                         {initials:debtor}

 Official Form 106A/B                                                   Schedule A/B: Property                                                  page 6
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Debtor 1 Treasure                                   Hutchinson                 Ketchum                       Case number (if known)
         First Name                                 Middle Name                Last Name
24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
           Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit
           No
           Yes. Describe...


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Describe...


27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Describe...



Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
28. Tax refunds owed to you
         No
         Yes. Give specific information                                                                                   Federal:               $0.00
              about them, including whether
              you already filed the returns                                                                               State:                 $0.00
              and the tax years..............
                                                                                                                          Local:                 $0.00
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
                                                                                                                          Alimony:               $0.00
         Yes. Give specific information......
                                                                                                                          Maintenance:           $0.00

                                                                                                                          Support:               $0.00

                                                                                                                          Divorce settlement:    $0.00

                                                                                                                          Property settlement:   $0.00
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
         No
         Yes. Describe...




        {initials:codebtor}                                                                                                                              {initials:debtor}

 Official Form 106A/B                                                           Schedule A/B: Property                                                               page 7
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Debtor 1 Treasure                                     Hutchinson                        Ketchum                              Case number (if known)
            First Name                                Middle Name                       Last Name
31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
                                                                      Company name:                                                        Beneficiary:        Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
            No
            Yes. Describe...


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe...


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
            No
            Yes. Describe...


35. Any financial assets you did not already list
            No
            Yes. Describe...



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                       $201.00
    for Part 4. Write that number here ................................................................................................................



Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
            No. Go to Part 6.                                                                                                                             Current value of the
                                                                                                                                                          portion you own?
            Yes. Go to line 38.                                                                                                                           Do not deduct secured claims
                                                                                                                                                          or exemptions
38. Accounts receivable or commissions you already earned
            No
            Yes. Describe...


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe...




           {initials:codebtor}                                                                                                                                    {initials:debtor}

 Official Form 106A/B                                                                    Schedule A/B: Property                                                               page 8
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 Debtor 1 Treasure                                        Hutchinson                          Ketchum                               Case number (if known)
              First Name                                  Middle Name                         Last Name
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
              No
              Yes. Describe...


 41. Inventory
              No
              Yes. Describe...


 42. Interests in partnerships or joint ventures
              No
                                                                           Name of entity:                                                         % of ownership:
              Yes. Give specific
              information about
              them



 43. Customer lists, mailing lists, or other compilations
              No
              Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                            No
                            Yes. Describe........

 44. Any business-related property you did not already list
              No
              Yes. Give specific
              information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ...............................................................................................................................................

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
               Yes. Go to line 47.                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish
               No
               Yes. Describe...




             {initials:codebtor}                                                                                                                                                            {initials:debtor}

   Official Form 106A/B                                                                        Schedule A/B: Property                                                                                   page 9
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 Debtor 1 Treasure                                        Hutchinson                          Ketchum                                Case number (if known)
              First Name                                  Middle Name                         Last Name
 48.     Crops-either growing or harvested
               No
               Yes. Describe...


 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
               No
               Yes. Describe...


 50.     Farm and fishing supplies, chemicals, and feed
               No
               Yes. Describe...


 51.     Any farm- and commercial fishing-related property you did not already list
               No
               Yes. Describe...



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................




 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
              No
              Yes. Give specific
              information




54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................




 Part 8:      List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................       $215000.00


 56. part 2 total vehicles, line 5                                                                 $4837.00
 57.Part 3: Total personal and household items, line 15                                            $8500.00
 58.Part 4: Total financial assets, line 36                                                        $201.00
 59. Part 5: Total business-related property, line 45
 60. Part 6: Total farm- and fishing-related property, line 52
 61. Part 7: Total other property not listed, line 54
 62. Total personal property. Add lines 56 through 61. ....................
                                                                                                   $13538.00                                                                              + $13538.00
                                                                                                                                            Copy personal property total

                                                                                                                                                                                          $228538.00
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................

             {initials:codebtor}                                                                                                                                                       {initials:debtor}

   Official Form 106A/B                                                                        Schedule A/B: Property                                                                             page 10
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Fill in this information to identify your case:
Debtor 1                Treasure                      Hutchinson                Ketchum
                        First Name                    Middle Name               Last Name
Debtor 2                Thomas                                                  Ketchum
(Spouse, if filing)     First Name                    Middle Name               Last Name
United States Bankruptcy Court for the:       Northern                     District of Georgia
                                                                                       (State)
Case number
(If known)
                                                                                                                                                       Check if this is an
Official Form 106C                                                                                                                                     amended filing


Schedule C: The Property You Claim as Exempt                                                                                                                         04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim
as exempt. If more space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any
additional pages, write your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.

Part 1:       Identify the Property You Claim as Exempt
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
              You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and         Current value of        Amount of the exemption you claim               Specific laws that allow exemption
        line on Schedule A/B that lists this          the portion you
        property                                      own                     Check only one box for each exemption.

                                                      Copy the value from
                                                      Schedule A/B

        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(1)
        description:                                     $215,000.00
              2892 Golden Club Bend,                                                               $43,000.00
              Austell, GA 30106                                                   100% of fair market value, up to any
        Line from                                                                 applicable statutory limit
        Schedule A/B:        01
        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(4)
        description:                                      $4,500.00
              Household Goods &                                                                     $4,500.00
              Furnishings                                                         100% of fair market value, up to any
        Line from                                                                 applicable statutory limit
        Schedule A/B:      06

 3.     Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




             {initials:codebtor}                                                                                                             {initials:debtor}

      Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                            page 1 of 2


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Debtor 1 Treasure                      Hutchinson                 Ketchum                    Case number (if known)
           First Name                  Middle Name                Last Name

Part 2:   Additional Page

    Brief description of the property and     Current value of       Amount of the exemption you claim                Specific laws that allow exemption
    line on Schedule A/B that lists this      the portion you
    property                                  own                    Check only one box for each exemption.

                                              Copy the value from
                                              Schedule A/B

    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(4)
    description:                                    $2,000.00
          Electronics                                                                    $2,000.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:               07                                        applicable statutory limit
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(4)
    description:                                    $1,000.00
          Clothing                                                                       $1,000.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:               11                                        applicable statutory limit
    Brief                                                                                                             O.C.G.A. § 44-13-100(a)(5); O.C.G.A.
    description:                                    $1,000.00                                                                  § 44-13-100(a)(6)
          Jewelry & Watches                                                           $1,000.00; $0.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:       12                                                applicable statutory limit
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(6)
    description:                                      $1.00
          Checking account,                                                                $1.00
          Checking Account -                                              100% of fair market value, up to any
          Wells Fargo                                                     applicable statutory limit
    Line from
    Schedule A/B:       17
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(6)
    description:                                     $200.00
          Checking account,                                                               $200.00
          Thomas Ketchum - LGE                                            100% of fair market value, up to any
          Bank                                                            applicable statutory limit
    Line from
    Schedule A/B:       17
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(3)
    description:                                    $3,787.00
          Mercedes SLK 320,                                                              $3,787.00
          2001, 2001 Mercedes                                             100% of fair market value, up to any
          SLK 320                                                         applicable statutory limit
    Line from
    Schedule A/B:       03




          {initials:codebtor}                                                                                                        {initials:debtor}

  Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                          page 2 of 2
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                       Case 20-71637-pmb                        Doc 1     Filed 11/11/20 Entered 11/11/20 17:25:23                                 Desc Main
                                                                         Document      Page 32 of 74
 Fill in this information to identify your case:
 Debtor 1                 Treasure                          Hutchinson                  Ketchum
                          First Name                        Middle Name                 Last Name
 Debtor 2                 Thomas                                                        Ketchum
 (Spouse, if filing)      First Name                        Middle Name                 Last Name
 United States Bankruptcy Court for the:             Northern                     District of Georgia
                                                                                              (State)
 Case number
 (If known)
                                                                                                                                                                 Check if this is an
Official Form 106D                                                                                                                                               amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
 1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:       List All Secured Claims
 2.       List all secured claims. If a creditor has more than one secured claim, list the creditor                  Column A               Column B                       Column C
          separately for each claim. If more than one creditor has a particular claim, list the other creditors      Amount of claim        Value of                       Unsecured
          in Part 2. As much as possible, list the claims in alphabetical order according to the creditor's          Do not deduct the      collateral                     portion
          name.                                                                                                      value of collateral.   that supports                  If any
                                                                                                                                            this claim
  2.1     Republic Finance                            Describe the property that secures the claim:                     $5,968.00               $1,050.00                  $4,918.00
          Creditor's Name
           4450 Hugh Howell Rd Ste 15                 2002 Mercedes E320
                 Number                Street         As of the date you file, the claim is: Check all that apply.
                                                          Contingent
          Tucker                    GA      30084         Unliquidated
          City                      State ZIP Code
                                                          Disputed
          Who owes the debt? Check one.
             Debtor 1 only                            Nature of lien. Check all that apply.
                  Debtor 2 only                           An agreement you made (such as mortgage or secured
                                                          car loan)
                  Debtor 1 and Debtor 2 only
                                                          Statutory lien (such as tax lien, mechanic's lien)
              At least one of the debtors
              and another                                 Judgment lien from a lawsuit
              Check if this claim relates                 Other (including a right to offset)
              to a community debt
          Date debt was           2/2019              Last 4 digits of account number               2592
          incurred
  2.2     Heather Lakes HOA                           Describe the property that secures the claim:                      $550.00             $215,000.00                    $0.00
          Creditor's Name
           PO Box 97753                               2892 Golden Club Bend, Austell, GA 30106 | Value: $0.00
                 Number                Street         As of the date you file, the claim is: Check all that apply.
                                                          Contingent
          Las Vegas                 NV      89193         Unliquidated
          City                      State ZIP Code
                                                          Disputed
          Who owes the debt? Check one.
             Debtor 1 only                            Nature of lien. Check all that apply.
                  Debtor 2 only                           An agreement you made (such as mortgage or secured
                                                          car loan)
                  Debtor 1 and Debtor 2 only
                                                          Statutory lien (such as tax lien, mechanic's lien)
              At least one of the debtors
              and another                                 Judgment lien from a lawsuit
              Check if this claim relates                 Other (including a right to offset)
              to a community debt
          Date debt was                               Last 4 digits of account number
          incurred
                       Add the dollar value of your entries in Column A on this page. Write that number                  $6,518.00
                       here:




              {initials:codebtor}                                                                                                                      {initials:debtor}

      Official Form 106D                                    Schedule D: Creditors Who Have Claims Secured by Property                                              page 1


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                                                                   Document      Page 33 of 74
Debtor 1 Treasure                              Hutchinson                  Ketchum                     Case number (if known)
             First Name                        Middle Name                 Last Name
                 Additional Page
                                                                                                     Column A                     Column B                       Column C
  Part:1
                 After listing any entries on this page, number them beginning with 2.3, followed by
                 2.4, and so forth.                                                                  Amount of claim              Value of                       Unsecured
                                                                                                     Do not deduct the            collateral                     portion
                                                                                                     value of collateral.         that supports                  If any
                                                                                                                                  this claim

2.3   Wells Fargo Home Mortgage                   Describe the property that secures the claim:                     $102,339.00      $215,000.00                   $0.00
      Creditor's Name
      7495 New Horizon Way                        2892 Golden Club Bend, Austell, GA 30106 | Value: $0.00
             Number           Street              As of the date you file, the claim is: Check all that apply.
                                                      Contingent
      Frederick               MD       21703          Unliquidated
      City                    State ZIP Code
                                                      Disputed
      Who owes the debt? Check one.
         Debtor 1 only                            Nature of lien. Check all that apply.
              Debtor 2 only                           An agreement you made (such as mortgage or secured
                                                      car loan)
              Debtor 1 and Debtor 2 only
                                                      Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and
          another                                     Judgment lien from a lawsuit
          Check if this claim relates to              Other (including a right to offset)
          a community debt
      Date debt was                               Last 4 digits of account number
      incurred
2.4   Internal Revenue Service                    Describe the property that secures the claim:                     $125,000.00      $228,538.00                   $0.00
      Creditor's Name
      P.O. Box 7346                               All Real and Personal Property
             Number           Street              As of the date you file, the claim is: Check all that apply.
                                                       Contingent
      Philadelphia            PA       19101          Unliquidated
      City                    State ZIP Code
                                                      Disputed
      Who owes the debt? Check one.
         Debtor 1 only                            Nature of lien. Check all that apply.
              Debtor 2 only                           An agreement you made (such as mortgage or secured
                                                      car loan)
              Debtor 1 and Debtor 2 only
                                                      Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and
          another                                     Judgment lien from a lawsuit
          Check if this claim relates to              Other (including a right to offset)
          a community debt
      Date debt was                               Last 4 digits of account number
      incurred
                   Add the dollar value of your entries in Column A on this page. Write that number                 $227,339.00
                   here:
                   If this is the last page of your form, add the dollar value totals from all pages.               $233,857.00
                   Write that number here:




        {initials:codebtor}                                                                                                                  {initials:debtor}

  Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                          page 2

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                       Case 20-71637-pmb                   Doc 1    Filed 11/11/20 Entered 11/11/20 17:25:23                                    Desc Main
                                                                   Document      Page 34 of 74
 Fill in this information to identify your case:
 Debtor 1                Treasure                      Hutchinson              Ketchum
                         First Name                    Middle Name             Last Name
 Debtor 2                Thomas                                                Ketchum
 (Spouse, if filing)     First Name                    Middle Name             Last Name
 United States Bankruptcy Court for the:       Northern                  District of Georgia
                                                                                     (State)
 Case number
 (If known)
                                                                                                                                           Check if this is an amended filing
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number
the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if
known).
 Part 1:       List All of Your PRIORITY Unsecured Claims
 1.     Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.
               Yes.
 2.  List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim
     listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts.
     As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the
     Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                     Total         Priority      Nonpriority
                                                                                                                                     claim         amount        amount
  2.1 Georgia Department Of Revenue                                       Last 4 digits of account number                            $9,000.00     $9,000.00       $0.00
        Priority Creditor's Name
        1800 Century Center Blvd Ne                                       When was the debt incurred?                n/a
        Number              Street
                                                                          As of the date you file, the claim is: Check all that
        Ste 2225                                                          apply.
                                                                           Contingent
          Atlanta             Georgia                30345
          City                State                  Zip Code              Unliquidated
          Who incurred the debt? Check one.                                Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                           Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                          Taxes and certain other debts you owe the
                 At least one of the debtors and another                  government
                 Check if this claim relates to a community debt          Claims for death or personal injury while you were
                                                                          intoxicated
          Is the claim subject to offset?                                 Other. Specify
               No
                 Yes
  2.2     Internal Revenue Service                                    Last 4 digits of account number                               $7,000.00    $7,000.00              $0.00
          Priority Creditor's Name
          P.O. Box 7346                                               When was the debt incurred?               n/a
          Number              Street
                                                                      As of the date you file, the claim is: Check all that
                                                                      apply.
                                                                          Contingent
          Philadelphia        Pennsylvania           19101
          City                State                  Zip Code              Unliquidated
          Who incurred the debt? Check one.                                Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                           Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                          Taxes and certain other debts you owe the
                 At least one of the debtors and another                  government
                 Check if this claim relates to a community debt          Claims for death or personal injury while you were
                                                                          intoxicated
          Is the claim subject to offset?                                 Other. Specify
               No
                 Yes
              {initials:codebtor}                                                                                                                   {initials:debtor}

   Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1

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                                                                Document      Page 35 of 74
Debtor 1 Treasure                           Hutchinson                  Ketchum                         Case number (if known)
           First Name                       Middle Name                 Last Name

Part 2:   List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one priority
   unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1.
   If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims fill out the Continuation
   Page of Part 2.
                                                                                                                                                         Total claim
4.1 Action Cred                                                                     Last 4 digits of account number                                          $150.00
      Nonpriority Creditor's Name
      110 S Church St                                                               When was the debt incurred?               n/a
      Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                         Contingent
                                                                                        Unliquidated
       Center                  Texas                        75935
       City                    State                        Zip Code                    Disputed
       Who incurred the debt? Check one.
            Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
             Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
             Debtor 1 and Debtor 2 only                                                 divorce that you did not report as priority claims
             At least one of the debtors and another                                    Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
             Check if this claim relates to a community debt                            Other. Specify                Other
       Is the claim subject to offset?
            No
             Yes
4.2    Capital One Bank Usa N                                                       Last 4 digits of account number          7436                              $470.00
       Nonpriority Creditor's Name
       P.O. Box 85520                                                               When was the debt incurred?             9/2015
       Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       Richmond                Virginia                     23285
                                                                                        Unliquidated
       City                    State                        Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                        Student loans
             Debtor 1 and Debtor 2 only                                                 Obligations arising out of a separation agreement or
             At least one of the debtors and another                                    divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                            debts
       Is the claim subject to offset?                                                  Other. Specify              CreditCard
            No
             Yes
4.3    Capital One Bank Usa N                                                       Last 4 digits of account number          9594                              $336.00
       Nonpriority Creditor's Name
       P.O. Box 85520                                                               When was the debt incurred?            12/2019
       Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       Richmond                Virginia                     23285
                                                                                        Unliquidated
       City                    State                        Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                        Student loans
             Debtor 1 and Debtor 2 only                                                 Obligations arising out of a separation agreement or
             At least one of the debtors and another                                    divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                            debts
       Is the claim subject to offset?                                                  Other. Specify              CreditCard
            No
             Yes
          {initials:codebtor}                                                                                                                       {initials:debtor}

 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2
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                  Case 20-71637-pmb                    Doc 1     Filed 11/11/20 Entered 11/11/20 17:25:23                                    Desc Main
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Debtor 1 Treasure                           Hutchinson                 Ketchum                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:   Your NONPRIORITY Unsecured Claims - Continuation Page
      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim
4.4   Capital One Bank Usa N                                                       Last 4 digits of account number          7952                               $0.00
      Nonpriority Creditor's Name
      P.O. Box 85520                                                               When was the debt incurred?            11/2009
      Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
      Richmond                Virginia                      23285
                                                                                       Unliquidated
      City                    State                         Zip Code
      Who incurred the debt? Check one.                                                Disputed
           Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                       Student loans
             Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
             At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                  Other. Specify              CreditCard
           No
             Yes
4.5   Feb-Retail                                                                   Last 4 digits of account number          0006                               $0.00
      Nonpriority Creditor's Name
      3175 Commercial Ave                                                          When was the debt incurred?            10/2014
      Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Ste 201
                                                                                       Contingent
      Northbrook              Illinois                      60062
                                                                                       Unliquidated
      City                    State                         Zip Code
      Who incurred the debt? Check one.                                                Disputed
           Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                       Student loans
             Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
             At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                  Other. Specify              CreditCard
           No
             Yes
4.6   Fed Loan Serv                                                                Last 4 digits of account number          0007                          $86,071.00
      Nonpriority Creditor's Name
      P.O. Box 69184                                                               When was the debt incurred?             1/2017
      Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
      Harrisburg              Pennsylvania                  17106
                                                                                       Unliquidated
      City                    State                         Zip Code
      Who incurred the debt? Check one.                                                Disputed
           Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                       Student loans
             Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
             At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                  Other. Specify
           No
             Yes




          {initials:codebtor}                                                                                                                     {initials:debtor}

 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 3
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                  Case 20-71637-pmb                    Doc 1     Filed 11/11/20 Entered 11/11/20 17:25:23                                    Desc Main
                                                                Document      Page 37 of 74
Debtor 1 Treasure                           Hutchinson                 Ketchum                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:   Your NONPRIORITY Unsecured Claims - Continuation Page
      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim
4.7   Fed Loan Serv                                                                Last 4 digits of account number          0002                               $0.00
      Nonpriority Creditor's Name
      P.O. Box 69184                                                               When was the debt incurred?             7/2001
      Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
      Harrisburg              Pennsylvania                  17106
                                                                                       Unliquidated
      City                    State                         Zip Code
      Who incurred the debt? Check one.                                                Disputed
           Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                       Student loans
             Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
             At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                  Other. Specify
           No
             Yes
4.8   Fed Loan Serv                                                                Last 4 digits of account number          0001                               $0.00
      Nonpriority Creditor's Name
      P.O. Box 69184                                                               When was the debt incurred?             4/1989
      Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
      Harrisburg              Pennsylvania                  17106
                                                                                       Unliquidated
      City                    State                         Zip Code
      Who incurred the debt? Check one.                                                Disputed
           Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                       Student loans
             Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
             At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                  Other. Specify
           No
             Yes
4.9   Fed Loan Serv                                                                Last 4 digits of account number          0003                               $0.00
      Nonpriority Creditor's Name
      P.O. Box 69184                                                               When was the debt incurred?             4/2014
      Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
      Harrisburg              Pennsylvania                  17106
                                                                                       Unliquidated
      City                    State                         Zip Code
      Who incurred the debt? Check one.                                                Disputed
           Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only
                                                                                       Student loans
             Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
             At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                  Other. Specify
           No
             Yes




          {initials:codebtor}                                                                                                                     {initials:debtor}

 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 4
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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.10      Fed Loan Serv                                                             Last 4 digits of account number             0006                             $0.00
          Nonpriority Creditor's Name
          P.O. Box 69184                                                            When was the debt incurred?            11/2014
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Harrisburg              Pennsylvania               17106
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify
               No
               Yes
4.11      Fed Loan Serv                                                             Last 4 digits of account number             0005                             $0.00
          Nonpriority Creditor's Name
          P.O. Box 69184                                                            When was the debt incurred?            11/2014
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Harrisburg              Pennsylvania               17106
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify
               No
               Yes
4.12      First Premier Bank                                                        Last 4 digits of account number             0628                          $765.00
          Nonpriority Creditor's Name
          c/o Jefferson Capital Systems LLC PO Box 7999                             When was the debt incurred?             1/2020
          Number         Street
                                                                                    As of the date you file, the claim is: Check all that apply.
          c/o Linda Dold
                                                                                        Contingent
          Saint Cloud             Minnesota                  56302
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify              CreditCard
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 5
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                                                                 Document      Page 39 of 74
Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.13      I.c. System, Inc                                                          Last 4 digits of account number             9440                          $211.00
          Nonpriority Creditor's Name
          PO BOX 64378                                                              When was the debt incurred?             6/2020
          Number         Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          SAINT PAUL              Minnesota                  55164
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                                                  001 Collection; Collecting for
                                                                                                          ORIGINAL CREDITOR: ATT U-
               No                                                                       Other. Specify                VERSE
               Yes
4.14      Loud Security Systems, Inc                                                Last 4 digits of account number                                          $1,534.00
          Nonpriority Creditor's Name
          975 Cobb Place Blvd.                                                      When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
          Ste. 317
                                                                                        Contingent
                                                                                        Unliquidated
          Kennesaw                Georgia                    30144
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes
4.15      Merrick Bk                                                                Last 4 digits of account number             0606                             $0.00
          Nonpriority Creditor's Name
          10705 S Jordan Gateway Suite 200                                          When was the debt incurred?             1/2016
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          South Jordan            Utah                       84095
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify              CreditCard
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 6
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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.16      MOREHOUSE ED                                                              Last 4 digits of account number             R17A                             $0.00
          Nonpriority Creditor's Name
          PO BOX 3176 WINSTON                                                       When was the debt incurred?             5/1989
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          SALEM                   North Carolina             27102
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify
               No
               Yes
4.17      Nelnet Lns                                                                Last 4 digits of account number             8174                             $0.00
          Nonpriority Creditor's Name
          3015 S Parker Rd Suite 400                                                When was the debt incurred?             5/2001
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Aurora                  Colorado                   80014
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify
               No
               Yes
4.18      Nelnet Lns                                                                Last 4 digits of account number             8074                             $0.00
          Nonpriority Creditor's Name
          3015 S Parker Rd Suite 400                                                When was the debt incurred?             5/2001
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Aurora                  Colorado                   80014
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 7
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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.19      Peachtree Immediate Care                                                  Last 4 digits of account number                                             $94.00
          Nonpriority Creditor's Name
          3720 Holcomb Bridge Rd                                                    When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
                                                                                        Unliquidated
          Peachtree Cor           Georgia                    30092
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes
4.20      Propath                                                                   Last 4 digits of account number                                           $365.00
          Nonpriority Creditor's Name
          P.O. Box 660811                                                           When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
                                                                                        Unliquidated
          Dallas                  Texas                      75266
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes
4.21      Quantum Radiology                                                         Last 4 digits of account number                                             $26.00
          Nonpriority Creditor's Name
          P.O. Box 742625                                                           When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
                                                                                        Unliquidated
          Atlanta                 Georgia                    30374
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

 Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 8
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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.22      Regfinga                                                                  Last 4 digits of account number             8301                         $1,889.00
          Nonpriority Creditor's Name
          2768 Cumberland Blvd Se                                                   When was the debt incurred?             7/2020
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Smyrna                  Georgia                    30080
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        17 InstallmentLoan
               No
               Yes
4.23      Regfinga                                                                  Last 4 digits of account number             6149                         $1,805.00
          Nonpriority Creditor's Name
          2768 Cumberland Blvd Se                                                   When was the debt incurred?             8/2020
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Smyrna                  Georgia                    30080
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        17 InstallmentLoan
               No
               Yes
4.24      Regfinga                                                                  Last 4 digits of account number             6209                             $0.00
          Nonpriority Creditor's Name
          2768 Cumberland Blvd Se                                                   When was the debt incurred?             9/2018
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Smyrna                  Georgia                    30080
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        15 InstallmentLoan
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.25      Regfinga                                                                  Last 4 digits of account number             0648                             $0.00
          Nonpriority Creditor's Name
          2768 Cumberland Blvd Se                                                   When was the debt incurred?            12/2018
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Smyrna                  Georgia                    30080
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        17 InstallmentLoan
               No
               Yes
4.26      Regfinga                                                                  Last 4 digits of account number             5416                             $0.00
          Nonpriority Creditor's Name
          2768 Cumberland Blvd Se                                                   When was the debt incurred?            10/2019
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Smyrna                  Georgia                    30080
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        17 InstallmentLoan
               No
               Yes
4.27      Regfinga                                                                  Last 4 digits of account number             6796                             $0.00
          Nonpriority Creditor's Name
          2768 Cumberland Blvd Se                                                   When was the debt incurred?             7/2020
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Smyrna                  Georgia                    30080
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        13 InstallmentLoan
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.28      Republic Finance                                                          Last 4 digits of account number             6712                             $0.00
          Nonpriority Creditor's Name
          4450 Hugh Howell Rd Ste 15                                                When was the debt incurred?             3/2016
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Tucker                  Georgia                    30084
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        030 InstallmentLoan
               No
               Yes
4.29      Republic Finance                                                          Last 4 digits of account number             2412                             $0.00
          Nonpriority Creditor's Name
          4450 Hugh Howell Rd Ste 15                                                When was the debt incurred?             3/2016
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Tucker                  Georgia                    30084
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        018 InstallmentLoan
               No
               Yes
4.30      Republic Finance                                                          Last 4 digits of account number             8411                             $0.00
          Nonpriority Creditor's Name
          4450 Hugh Howell Rd Ste 15                                                When was the debt incurred?            12/2016
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Tucker                  Georgia                    30084
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify        036 InstallmentLoan
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.31      Syncb/Care Credit                                                         Last 4 digits of account number             2509                          $572.00
          Nonpriority Creditor's Name
          P.O. Box 965036                                                           When was the debt incurred?            11/2015
          Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
          Orlando                 Florida                    32896
                                                                                        Unliquidated
          City                    State                      Zip Code
          Who incurred the debt? Check one.                                             Disputed
               Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                        Student loans
               Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
               At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
               Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                               Other. Specify              CreditCard
               No
               Yes
4.32      The Bortolazzo Group                                                      Last 4 digits of account number                                           $621.00
          Nonpriority Creditor's Name
          P.O. Box 5518                                                             When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
                                                                                        Unliquidated
          Athens                  Georgia                    30604
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes
4.33      Wellstar Health System                                                    Last 4 digits of account number                                          $1,038.00
          Nonpriority Creditor's Name
          805 Sandy Plains Road                                                     When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
                                                                                        Unliquidated
          Marietta                Georgia                    30066
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

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Debtor 1 Treasure                            Hutchinson                 Ketchum                        Case number (if known)
           First Name                        Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim
4.34      Wellstar Health System                                                    Last 4 digits of account number                                             $88.00
          Nonpriority Creditor's Name
          805 Sandy Plains Road                                                     When was the debt incurred?                 n/a
          Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
                                                                                        Unliquidated
          Marietta                Georgia                    30066
          City                    State                      Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                        Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
               Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
               Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
               At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
               Check if this claim relates to a community debt                          Other. Specify                Other
          Is the claim subject to offset?
               No
               Yes




          {initials:codebtor}                                                                                                                      {initials:debtor}

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Debtor 1 Treasure                          Hutchinson                 Ketchum                    Case number (if known)
           First Name                      Middle Name                Last Name

Part 3:   List Others to Be Notified About a Debt That You Already Listed

5.   Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Internal Revenue Service - Atl
     Name                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

     401 W Peachtree St. NW, Stop 334-D                                Line 2.2           of (Check           Part 1: Creditors with Priority Unsecured Claims
     Number    Street                                                                     one):
                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Atlanta                    Georgia          30308                 Last 4 digits of account number
     City                       State            Zip Code
     Office Of The United States Trustee
     Name                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

     75 Ted Turner Dr Sw                                               Line 2.2           of (Check           Part 1: Creditors with Priority Unsecured Claims
     Number     Street                                                                    one):
                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Atlanta                    Georgia          30303                 Last 4 digits of account number
     City                       State            Zip Code
     Special Assistant U.S. Attorney
     Name                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

     401 W. Peachtree Street, NW, STOP 1000-D, Suite 600               Line 2.2           of (Check           Part 1: Creditors with Priority Unsecured Claims
     Number     Street                                                                    one):
                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Atlanta                    Georgia          30308                 Last 4 digits of account number
     City                       State            Zip Code
     Department Of Justice, Tax Division
     Name                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

     75 Ted Turner Drive Sw                                            Line 2.2           of (Check           Part 1: Creditors with Priority Unsecured Claims
     Number     Street                                                                    one):
                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Atlanta                    Georgia          30303                 Last 4 digits of account number
     City                       State            Zip Code
     Office Of The Attorney General - Atlanta
     Name                                                              On which entry in Part 1 or Part 2 did you list the original creditor?

     40 Capitol Sq Sw                                                  Line 2.1           of (Check           Part 1: Creditors with Priority Unsecured Claims
     Number      Street                                                                   one):
                                                                                                              Part 2: Creditors with Nonpriority Unsecured
                                                                                                              Claims
     Atlanta                    Georgia          30334                 Last 4 digits of account number
     City                       State            Zip Code




          {initials:codebtor}                                                                                                               {initials:debtor}

 Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                             page 14
Document Ref: RYK92-SSU5Y-NRK6V-SEZXV                                                                                                                           Page 47 of 77
                  Case 20-71637-pmb                    Doc 1        Filed 11/11/20 Entered 11/11/20 17:25:23                    Desc Main
                                                                   Document      Page 48 of 74
Debtor 1 Treasure                              Hutchinson                 Ketchum                    Case number (if known)
           First Name                          Middle Name                Last Name

Part 4:   Add the Amounts for Each Type of Unsecured Claim
6.
     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
     Add the amounts for each type of unsecured claim.


                                                                                                Total claims

                                                                                                      $0.00
Total claims            6a. Domestic support obligations.                                 6a.
from Part 1
                                                                                                   $16,000.00
                        6b. Taxes and certain other debts you owe the government          6b.

                        6c. Claims for death or personal injury while you were            6c.         $0.00
                            intoxicated
                                                                                                      $0.00
                        6d. Other. Add all other priority unsecured claims. Write that    6d.
                            amount here.
                                                                                                   $16,000.00
                        6e. Total. Add lines 6a through 6d.                               6e.


                                                                                                Total claims

                                                                                                   $86,071.00
Total claims            6f. Student loans                                                 6f.
from Part 2
                        6g. Obligations arising out of a separation agreement or          6g.         $0.00
                            divorce that you did not report as priority claims

                                                                                                      $0.00
                        6h. Debts to pension or profit-sharing plans, and other similar   6h.
                            debts

                                                                                                   $9,964.00
                        6i. Other. Add all other nonpriority unsecured claims. Write      6i.
                            that amount here.

                        6j. Total. Add lines 6f through 6i.                               6j.      $96,035.00




          {initials:codebtor}                                                                                                       {initials:debtor}

 Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page 15
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                       Case 20-71637-pmb                    Doc 1       Filed 11/11/20 Entered 11/11/20 17:25:23                                       Desc Main
                                                                       Document      Page 49 of 74
 Fill in this information to identify your case:
 Debtor 1                 Treasure                        Hutchinson                 Ketchum
                          First Name                      Middle Name                Last Name
 Debtor 2                 Thomas                                                     Ketchum
 (Spouse, if filing)      First Name                      Middle Name                Last Name
 United States Bankruptcy Court for the:         Northern                      District of Georgia
                                                                                           (State)
 Case number
 (If known)
                                                                                                                                                                   Check if this is an
Official Form 106G                                                                                                                                                 amended filing


Schedule G: Executory Contracts and Unexpired Leases                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your
name and case number (if known).
 1. Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
      vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease                                               State what the contract or lease is for




               {initials:codebtor}                                                                                                                       {initials:debtor}

      Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                                    page 1


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                       Case 20-71637-pmb                    Doc 1     Filed 11/11/20 Entered 11/11/20 17:25:23                            Desc Main
                                                                     Document      Page 50 of 74
 Fill in this information to identify your case:
 Debtor 1                Treasure                        Hutchinson                Ketchum
                         First Name                      Middle Name               Last Name
 Debtor 2                Thomas                                                    Ketchum
 (Spouse, if filing)     First Name                      Middle Name               Last Name
 United States Bankruptcy Court for the:         Northern                   District of Georgia
                                                                                        (State)
 Case number
 (If known)
                                                                                                                                                         Check if this is an
                                                                                                                                                         amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
               No
               Yes
 2. Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include Arizona, California,
    Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                   No
                   Yes. In which community state or territory did you live?                      Fill in the name and current address of that person.

                         Name of your spouse, former spouse, or legal equivalent

                         Number     Street

                         City                                    State                      Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
    again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
    Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                         Column 2: The creditor to whom you owe the debt
                                                                                                       Check all schedules that apply:




              {initials:codebtor}                                                                                                              {initials:debtor}

    Official Form 106H                                                    Schedule H: Your Codebtors                                                       page 1


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                     Case 20-71637-pmb           Doc 1        Filed 11/11/20 Entered 11/11/20 17:25:23                                  Desc Main
                                                             Document      Page 51 of 74
Fill in this information to identify your case:
Debtor 1                Treasure                Hutchinson              Ketchum
                        First Name              Middle Name             Last Name                          Check if this is:
Debtor 2                Thomas                                          Ketchum
(Spouse, if filing)     First Name              Middle Name             Last Name                             An amended filing

United States Bankruptcy Court for      Northern                   District of Georgia                          A supplement showing post-petition chapter 13
the:                                                                                                            expenses as of the following date:
                                                                               (State)
Case number
(If known)                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include
information about your spouse. If you are separated and your spouse is not filing with you, do not include information about your
spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1: Describe Employment

 1. Fill in your employment                                           Debtor 1                                     Debtor 2
    information.
                                        Employment status                Employed                                       Employed
     If you have more than one job,
     attach a separate page with                                         Not Employed                                   Not Employed
     information about additional
     employers.                         Occupation                   Self-employment
     Include part time, seasonal, or    Employer's name                                                           Manpower
     self-employed work.
                                        Employer's address                                                        190 Sunset Blvd
     Occupation may include student                                   Number Street                                Number Street
     or homemaker, if it applies.
                                                                                                                  #15



                                                                                                                  Hayward             California       94541
                                                                      City                State   Zip Code        City                State            Zip Code

                                        How long employed                                                         1 week
                                        there?

 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
 spouse unless you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
 more space, attach a separate sheet to this form.
                                                                                         For Debtor 1             For Debtor 2 or
                                                                                                                  non-filing spouse
   2. List monthly gross wages, salary, and commissions (before all payroll      2.                 $0.00                          $1,590.90
      deductions.) If not paid monthly, calculate what the monthly wage would
      be.
   3. Estimate and list monthly overtime pay.                                    3.               + $0.00                            + $0.00
   4. Calculate gross income. Add line 2 + line 3.                               4.                     $0.00                      $1,590.90




             {initials:codebtor}                                                                                                            {initials:debtor}

   Official Form 106I                                             Schedule I: Your Income                                                              page 1


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Debtor 1Treasure                           Hutchinson                 Ketchum                     Case number (if
         First Name                        Middle Name                Last Name                   known)
                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                   non-filing spouse
  Copy line 4 here                                                                4.                   $0.00                 $1,590.90
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                              5a.                  $0.00                      $176.80
   5b. Mandatory contributions for retirement plans                               5b.                  $0.00                        $0.00
   5c. Voluntary contributions for retirement plans                               5c.                  $0.00                        $0.00
   5d. Required repayments of retirement fund loans                               5d.                  $0.00                        $0.00
   5e. Insurance                                                                  5e.                  $0.00                        $0.00
   5f. Domestic support obligations                                               5f.                  $0.00                        $0.00
   5g. Union dues                                                                 5g.                  $0.00                        $0.00
   5h. Other deductions. Specify:                                                 5h. +                $0.00 +                      $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g          6.                   $0.00                      $176.80
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.            7.                   $0.00                 $1,414.10

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing
       gross receipts, ordinary and necessary business expenses, and
       the total monthly net income.                                              8a.             $1,666.67                         $0.00
   8b. Interest and dividends                                                     8b.                  $0.00                        $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                               8c.                  $0.00                        $0.00
   8d. Unemployment compensation                                                  8d.                  $0.00                        $0.00
   8e. Social Security                                                            8e.                  $0.00                        $0.00
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-
       cash assistance that you receive, such as food stamps (benefits
       under the Supplemental Nutrition Assistance Program) or
       housing subsidies
       Specify:
                                                                                  8f.                  $0.00                        $0.00
   8g. Pension or retirement income                                               8g.                  $0.00                        $0.00
   8h. Other monthly income. Specify:                                             8h. +                $0.00 +                      $0.00
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.               $1,666.67                        $0.00

10.Calculate monthly income. Add line 7 + line 9.                                 10.              $1,666.67 +               $1,414.10 =                              $3,080.77
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                                 11. +                        $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                       12.
   Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                       $3,080.77
                                                                                                                                                       Combined
                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




        {initials:codebtor}                                                                                                                       {initials:debtor}

  Official Form 106I                                                 Schedule I: Your Income                                                                 page 2
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Debtor 1Treasure                            Hutchinson              Ketchum                    Case number (if
         First Name                         Middle Name             Last Name                  known)
Official Form 106I. Additional page.
8a.Net income from rental property and from operating a business, profession, or farm

 8a.1 1099 Income                                          Debtor 1          Debtor 2
   Gross receipts (before all deductions)                  $1,666.67
   Ordinary and necessary operating expenses               -$0.00        -
   Net monthly income from a business, profession, or      $1,666.67                    Copy   $1,666.67
   farm                                                                                 here




        {initials:codebtor}                                                                                        {initials:debtor}

  Official Form 106I                                            Schedule I: Your Income                                       page 3
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                       Case 20-71637-pmb                        Doc 1     Filed 11/11/20 Entered 11/11/20 17:25:23                                    Desc Main
                                                                         Document      Page 54 of 74
 Fill in this information to identify your case:
 Debtor 1                 Treasure                          Hutchinson                   Ketchum
                          First Name                        Middle Name                  Last Name
                                                                                                                     Check if this is:
 Debtor 2                 Thomas                                                         Ketchum
 (Spouse, if filing)      First Name                        Middle Name                  Last Name                         An amended filing

 United States Bankruptcy Court for the:             Northern                       District of Georgia                    A supplement showing post-petition chapter 13
                                                                                                                           expenses as of the following date:
                                                                                                (State)
 Case number
 (If known)                                                                                                                MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses                                                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
 Part 1:       Describe Your Household
 1. Is this a joint case?
              No. Go to line 2

              Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    No
    Do not list Debtor 1 and                   Yes. Fill out this information for     Dependent's relationship to         Dependent's          Does dependent live
    Debtor 2.                                  each dependent                         Debtor 1 or Debtor 2                age                  with you?
 3. Do your expenses include
    expenses of people other                   No
    than
    yourself and your                          Yes
    dependents?

 Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                                  Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                                          $1,010.64
      any rent for the ground or lot. 4.                                                                                                         4.
       If not included in line 4:
       4a. Real estate taxes                                                                                                                     4a                            $0.00
       4b. Property, homeowner's, or renter's insurance                                                                                         4b.                          $100.00
       4c. Home maintenance, repair, and upkeep expenses                                                                                        4c.                            $0.00
       4d. Homeowner's association or condominium dues                                                                                          4d.                           $45.00




               {initials:codebtor}                                                                                                                      {initials:debtor}

     Official Form 106J                                                         Schedule J: Your Expenses                                                           page 1


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                                                                Document      Page 55 of 74
Debtor 1 Treasure                           Hutchinson                   Ketchum                    Case number (if known)
          First Name                        Middle Name                  Last Name


                                                                                                                                          Your expenses
5. Additional mortgage payments for your residence, such as home equity loans                                                 5.                          $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                        6a.                       $300.00
   6b. Water, sewer, garbage collection                                                                                      6b.                         $75.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                        6c.                       $450.00
   6d. Other. Specify:                                                                                                        6d                          $0.00
7. Food and housekeeping supplies                                                                                             7.                       $275.00
8. Childcare and children's education costs                                                                                  8.                           $0.00
9. Clothing, laundry, and dry cleaning                                                                                       9.                          $10.00
10. Personal care products and services                                                                                      10.                         $15.00
11. Medical and dental expenses                                                                                              11.                         $80.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                             12.                       $245.00
    Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                       13.                          $0.00
14. Charitable contributions and religious donations                                                                         14.                          $0.00
15. Insurance.
   Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                       15a                          $0.00
   15b. Health insurance                                                                                                     15b                          $0.00
   15c. Vehicle insurance                                                                                                    15c                       $210.00
   15d. Other insurance. Specify:                                                                                            15d                          $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                               $0.00
                                                                                                                              16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                           17a                       $263.00
   17b. Car payments for Vehicle 2                                                                                           17b                          $0.00
   17c. Other. Specify:                                                                                                      17c                          $0.00
   17d. Other. Specify:                                                                                                      17d                          $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                                           $0.00
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                        18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                  19.                          $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                          20a                          $0.00
   20b. Real estate taxes.                                                                                                   20b                          $0.00
   20c. Property, homeowner's, or renter's insurance                                                                         20c                          $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                            20d                          $0.00
   20e. Homeowner's association or condominium dues                                                                          20e                          $0.00




         {initials:codebtor}                                                                                                       {initials:debtor}

  Official Form 106J                                                    Schedule J: Your Expenses                                              page 2
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Debtor 1 Treasure                         Hutchinson                Ketchum                     Case number (if known)
         First Name                       Middle Name               Last Name
21.Other. Specify:                                                                                                        21                            $0.00

22. Calculate your monthly expenses.                                                                                                                 $3,078.64
   22a. Add lines 4 through 21.                                                                                                                          $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                              $3,078.64
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                       22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                     23a                         $3,080.77
   23b. Copy your monthly expenses from line 22 above.                                                                   23b                         $3,078.64
   23c. Subtract your monthly expenses from your monthly income.                                                                                        $2.13
        The result is your monthly net income.                                                                           23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
        No
        Yes

                     Explain here:




        {initials:codebtor}                                                                                                      {initials:debtor}

  Official Form 106J                                               Schedule J: Your Expenses                                                 page 3
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Fill in this information to identify your case:
Debtor 1                Treasure                   Hutchinson             Ketchum
                        First Name                 Middle Name            Last Name
Debtor 2                Thomas                                            Ketchum
(Spouse, if filing)     First Name                 Middle Name            Last Name
United States Bankruptcy Court for the:     Northern                 District of Georgia
                                                                                 (State)
Case number
(If known)
                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                 12/15
If you are an individual filing under chapter 7, you must fill out this form if:
◼ creditors have claims secured by your property, or
◼ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Part 1:       List Your Creditors Who Have Secured Claims
 1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.


       Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                               secures a debt?                                   as exempt on Schedule C?

       Creditor's                                                                   Surrender the property.                          No.
       name: Republic Finance                                                                                                        Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:    2002 Mercedes E320                                         Reaffirmation Agreement.
                                                                                    Retain the property and
                                                                                    [explain]:

       Creditor's                                                                   Surrender the property.                          No.
       name: Heather Lakes HOA                                                                                                       Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:   2892 Golden Club Bend, Austell, GA 30106 | Value:           Reaffirmation Agreement.
       $215,000.00                                                                  Retain the property and
                                                                                    [explain]:

       Creditor's                                                                   Surrender the property.                          No.
       name: Wells Fargo Home Mortgage                                                                                               Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:   2892 Golden Club Bend, Austell, GA 30106 | Value:           Reaffirmation Agreement.
       $215,000.00                                                                  Retain the property and
                                                                                    [explain]:

       Creditor's                                                                   Surrender the property.                          No.
       name: Internal Revenue Service                                                                                                Yes.
                                                                                    Retain the property and redeem it.
       Description of
       property                                                                     Retain the property and enter into a
       securing debt:    Secured by All real and personal property                  Reaffirmation Agreement.
                                                                                    Retain the property and
                                                                                    [explain]:
                                                                               Retain & Pay

             {initials:codebtor}                                                                                                      {initials:debtor}

      Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                  page 1


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Debtor Treasure                        Hutchinson               Ketchum                   Case number (if
1      First Name                      Middle Name              Last Name                 known)

Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may
assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).


     Describe your unexpired personal property leases                                                         Will the lease be assumed?

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:

                                                                                                                 No
     Lessor's name:
                                                                                                                 Yes
     Description of leased
     property:


Part 3:   Sign Below
   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.


   û Signature
       {signature:debtor}
               of Debtor 1
                                                                            û Signature
                                                                                {signature:codebtor}
                                                                                        of Debtor 2

            11/11/2020
      Date {date:debtor____________}                                            Date
            MM/DD/YYYY                                                                 MM/DD/YYYY




          {initials:codebtor}                                                                                                      {initials:debtor}

   Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                    page 2


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B2030 (Form 2030) (12/15)

                                                 UNITED STATES BANKRUPTCY COURT
                                                                  Northern District of Georgia
In re        Treasure Hutchinson Ketchum ; Thomas Ketchum                                                      Case No.
                                       Debtor                                                                                               (If known)
                                                                                                               Chapter                      Chapter 7

                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
        1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the abovenamed debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
           rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection w ith the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                                                                              $1,665.00
              (Costs include: $1,290.00 attorney fee, $335.00 filing fee, $20.00 copy fee, $10.00 postage fee, $10.00 credit counseling fee.)

             Prior to the filing of this statement I have received                                                                                                        $0.00

             Balance Due                                                                                                                                              $1,665.00

        2. The source of the compensation paid to me was:
                          Debtor                                        Other (specify)

        3. The source of the compensation paid to me is:
                          Debtor                                        Other (specify)

        4.        I have not agreed to share the above-disclosed compensation with any other person unless they are
                  members and associates of my law firm.
                  I have agreed to share the above-disclosed compensation with a other person or persons who are not
                  members or associates of my law firm. A copy of the agreement, together with a list of the names of
                  the people sharing in the compensation, is attached.
        5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                    bankruptcy;
                  b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                  d. The balance due will be provided for by post-dated check or ACH payments pursuant to a post-petition contract.

        6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
            Motion to Sell Property - $500.00
            Application to Employ Professional/Motion to Approve Compromise - $300.00
            Motion to Incur Debt/Refinance - $300.00
            Motion to Reimpose Stay - $300.00
            Motion to Vacate Dismissal/Reopen Case - $300.00 plus cost
            Motion to Retain Tax Refund - $300.00
            Stay Violations- $300/per hour
            Representing Client in Adversary Proceeding - $300.00/hr
            Representing Client in 2004 Examination - $300.00/hr
            Motion        to Extend Time for Reaffirmation - $300.00
            {initials:codebtor}                                                                                                                   {initials:debtor}




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
  debtor(s) in this bankruptcy proceedings.
          11/11/2020
         {date:attorney____________}                                             {signature:attorney}
                     Date                                                        Signature of Attorney


                                                                                   Semrad Law Firm
                                                                                   Name of law firm




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 Fill in this information to identify your case:
 Debtor 1                Treasure                               Hutchinson                       Ketchum
                         First Name                             Middle Name                      Last Name
 Debtor 2                Thomas                                                                  Ketchum
 (Spouse, if filing)     First Name                             Middle Name                      Last Name
 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number
 (If known)
                                                                                                                                                                               Check if this is an
                                                                                                                                                                               amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $215,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $13,538.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $228,538.00
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $233,857.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $16,000.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $96,035.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $345,892.00



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $3,080.77
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $3,078.64
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




              {initials:codebtor}                                                                                                                                    {initials:debtor}

  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                page 1


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Debtor 1 Treasure                            Hutchinson                Ketchum                      Case number (if known)
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes.

7. What kind of debt do you have?
          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.
          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                 $1,649.84
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $16,000.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $86,071.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $102,071.00




           {initials:codebtor}                                                                                                                   {initials:debtor}

 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                                       page 2
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 Fill in this information to identify your case:
 Debtor 1                Treasure                   Hutchinson             Ketchum
                         First Name                 Middle Name            Last Name
 Debtor 2                Thomas                                            Ketchum
 (Spouse, if filing)     First Name                 Middle Name            Last Name
 United States Bankruptcy Court for the:     Northern                 District of Georgia
                                                                                  (State)
 Case number
 (If known)
                                                                                                                                                       Check if this is an
Official Form 106Dec                                                                                                                                   amended filing


Declaration About an Individual Debtor's Schedules                                                                                                                   12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No
              Yes. Name of person                                           Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                            Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    {signature:debtor}
             of Debtor 1
                                                                                   û Signature
                                                                                      {signature:codebtor}
                                                                                               of Debtor 2

             11/11/2020
       Date {date:debtor____________}                                                         11/11/2020
                                                                                        Date {date:codebtor___________}
             MM/DD/YYYY                                                                       MM/DD/YYYY




              {initials:codebtor}                                                                                                            {initials:debtor}

   Official Form 106Dec                                  Declaration About an Individual Debtor's Schedules                                              page 1


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                                                  UNITED STATES BANKRUPTCY COURT
                                                           Northern District of Georgia
 In re:   Ketchum, Treasure Hutchinson ; Ketchum, Thomas
                                                                            Case No.
                                     Debtor(s)

                                                                             Chapter.                          Chapter7


                                                 VERIFICATION OF CREDITOR MATRIX
       The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.



Date:            11/11/2020
                {date:debtor____________}                                          {signature:debtor}
                                                                                   Ketchum, Treasure Hutchinson
                                                                                   Signature of Debtor



                                                                                   {signature:codebtor}
                                                                                   Ketchum, Thomas
                                                                                   Signature of Joint Debtor




 {initials:codebtor}                                                                                                              {initials:debtor}
                                                                            1

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       Fed Loan Serv
       PO Box 60610
       Harrisburg, PA, 17106




       Regfinga
       2768 Cumberland Blvd Se
       Smyrna, GA, 30080




       First Premier Bank
       c/o Jefferson Capital Systems LLC PO Box 7999
       c/o Linda Dold
       Saint Cloud, MN, 56302



       Syncb/Care Credit
       P.O. Box 965036
       Orlando, FL, 32896




       Capital One Bank Usa N
       PO Box 85520
       Richmond, VA, 23285




       I.c. System, Inc
       P.O. Box 64378
       Saint Paul, MN, 55164




       Feb-Retail
       3175 Commercial Ave
       Ste 201
       Northbrook, IL, 60062



       Nelnet Lns
       3015 S Parker Rd Suite 400
       Aurora, CO, 80014




       Merrick Bk
       10705 S Jordan Gateway Suite 200
       South Jordan, UT, 84095




       MOREHOUSE ED
       PO BOX 3176 WINSTON
       SALEM, NC, 27102




       Internal Revenue Service - Atl
       401 West Peachtree St NW Room 1665
       ATTN: Ella Johnson, M/S 334-D
       Atlanta, GA, 30308




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       Office Of The United States Trustee
       75 Ted Turner Dr Sw
       Atlanta, GA, 30303




       Special Assistant U.S. Attorney
       401 W. Peachtree Street, NW, STOP 1000-D, Suite 600
       Atlanta, GA, 30308




       Department Of Justice, Tax Division
       75 Ted Turner Drive Sw
       Civil Trial Section, Southern
       Atlanta, GA, 30303



       Office Of The Attorney General - Atlanta
       40 Capitol Sq Sw
       Attn: Karrollanne K. Cayce
       Atlanta, GA, 30334



       Republic Finance
       4450 Hugh Howell Rd Ste 15
       Tucker, GA, 30084




       Wellstar Health System
       805 Sandy Plains Road
       Marietta, GA, 30066




       Propath
       P.O. Box 660811
       Dallas, TX, 75266




       Quantum Radiology
       P.O. Box 742625
       Atlanta, GA, 30374




       The Bortolazzo Group
       P.O. Box 5518
       Athens, GA, 30604




       Wellstar Health System
       805 Sandy Plains Road
       Marietta, GA, 30066




       Peachtree Immediate Care
       3720 Holcomb Bridge Rd
       Peachtree Cor, GA, 30092




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       Loud Security Systems, Inc
       975 Cobb Place Blvd.
       Ste. 317
       Kennesaw, GA, 30144



       Heather Lakes HOA
       PO Box 97753
       Las Vegas, NV, 89193




       Wells Fargo Home Mortgage
       7495 New Horizon Way
       Frederick, MD, 21703




       Action Cred
       110 S Church St
       Center, TX, 75935




       Internal Revenue Service
       P.O. Box 7346
       Philadelphia, PA, 19101




       Georgia Department Of Revenue
       1800 Century Center Blvd Ne
       Ste 2225
       Atlanta, GA, 30345



       Internal Revenue Service
       P.O. Box 7346
       Philadelphia, PA, 19101




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   Notice Required by 11 U.S.C. § 342(b) for
   Individuals Filing for Bankruptcy (Form 2010)
                                                                           Chapter 7: Liquidation
      This notice is for you if:

          You are an individual filing for                                           $245    filing fee
          bankruptcy,                                                                 $75    administrative fee
          and                                                              +          $15    trustee surcharge
                                                                                     $335    total fee
          Your debts are primarily consumer
          debts.                                                           Chapter 7 is for individuals who have financial
          Consumer debts are defined in 11 U.S.C. § 101(8) as              difficulty preventing them from paying their debts
          "incurred by an individual primarily for a                       and who are willing to allow their nonexempt
          personal, family, or household purpose."                         property to be used to pay their creditors. The
                                                                           primary purpose of filing under chapter 7 is to have
                                                                           your debts discharged. The bankruptcy discharge
    The types of bankruptcy that are                                       relieves you after bankruptcy from having to pay
    available to individuals                                               many of your pre-bankruptcy debts. Exceptions exist
                                                                           for particular debts, and liens on property may still
    Individuals who meet the qualifications may file under                 be enforced after discharge. For example, a creditor
    one of four different chapters of the Bankruptcy Code:                 may have the right to foreclose a home mortgage or
                                                                           repossess an automobile.
        Chapter 7 — Liquidation
                                                                           However, if the court finds that you have committed
        Chapter 11 — Reorganization                                        certain kinds of improper conduct described in the
        Chapter 12 — Voluntary repayment plan                              Bankruptcy Code, the court may deny your
                     for family farmers or                                 discharge.
                     fishermen
                                                                           You should know that even if you file chapter 7 and
        Chapter 13 — Voluntary repayment plan                              you receive a discharge, some debts are not
                     for individuals with regular                          discharged under the law. Therefore, you may still
                     income                                                be responsible to pay:
    You should have an attorney review your                                    most taxes;
    decision to file for bankruptcy and the choice                             most student loans;
    of chapter.
                                                                               domestic support and property settlement
                                                                               obligations;




           {initials:codebtor}                                                                                    {initials:debtor}


   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                     page 1



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        most fines, penalties, forfeitures, and criminal                    your income is more than the median income for
        restitution obligations; and                                        your state of residence and family size, depending
                                                                            on the results of the Means Test, the U.S. trustee,
        certain debts that are not listed in your bankruptcy                bankruptcy administrator, or creditors can file a
        papers.                                                             motion to dismiss your case under § 707(b) of the
                                                                            Bankruptcy Code. If a motion is filed, the court will
    You may also be required to pay debts arising from:                     decide if your case should be dismissed. To avoid
                                                                            dismissal, you may choose to proceed under another
        fraud or theft;                                                     chapter of the Bankruptcy Code.
        fraud or defalcation while acting in breach of                      If you are an individual filing for chapter 7
        fiduciary capacity;                                                 bankruptcy, the trustee may sell your property to
                                                                            pay your debts, subject to your right to exempt the
        intentional injuries that you inflicted; and                        property or a portion of the proceeds from the sale
        death or personal injury caused by operating a                      of the property. The property, and the proceeds
        motor vehicle, vessel, or aircraft while intoxicated                from property that your bankruptcy trustee sells or
        from alcohol or drugs.                                              liquidates that you are entitled to, is called exempt
                                                                            property. Exemptions may enable you to keep your
                                                                            home, a car, clothing, and household items or to
    If your debts are primarily consumer debts, the court                   receive some of the proceeds if the property is sold.
    can dismiss your chapter 7 case if it finds that you have
    enough income to repay creditors a certain amount.                      Exemptions are not automatic. To exempt property,
    You must file Chapter 7 Statement of Your Current                       you must list it on Schedule C: The Property You
    Monthly Income (Official Form 122A-1) if you are an                     Claim as Exempt (Official Form 106C). If you do not
    individual filing for bankruptcy under chapter 7. This                  list the property, the trustee may sell it and pay all
    form will determine your current monthly income                         of the proceeds to your creditors.
    and compare whether your income is more than the
    median income that applies in your state.
                                                                            Chapter 11: Reorganization
    If your income is not above the median for your state,
    you will not have to complete the other chapter 7                               $1,167    filing fee
    form, the Chapter 7 Means Test Calculation (Official                    +        $550     administrative fee
    Form 122A-2).                                                                   $1,717    total fee
    If your income is above the median for your state, you
    must file a second form - the Chapter 7 Means Test                      Chapter 11 is often used for reorganizing a
    Calculation (Official Form 122A-2). The calculations                    business, but is also available to individuals. The
    on the form - sometimes called the Means Test -                         provisions of chapter 11 are too complicated to
    deduct from your income living expenses and                             summarize briefly.
    payments on certain debts to determine any amount
    available to pay unsecured creditors. If




           {initials:codebtor}                                                                                     {initials:debtor}


   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                      page 2
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   Read These Important Warnings
   Because bankruptcy can have serious long-term financial and legal consequences, including loss of your property,
   you should hire an attorney and carefully consider all of your options before you file. Only an attorney can give you
   legal advice about what can happen as a result of filing for bankruptcy and what your options are. If you do file for
   bankruptcy, an attorney can help you fill out the forms properly and protect you, your family, your home, and your
   possessions.

   Although the law allows you to represent yourself in bankruptcy court, you should understand that many people find it
   difficult to represent themselves successfully. The rules are technical, and a mistake or inaction may harm you. If you
   file without an attorney, you are still responsible for knowing and following all of the legal requirements.

   You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the necessary documents.

   Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your bankruptcy case.
   Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
   1341, 1519, and 3571.




    Chapter 12: Repayment plan for family                                     Under chapter 13, you must file with the court a
                farmers or fishermen                                          plan to repay your creditors all or part of the money
                                                                              that you owe them, usually using your future
                                                                              earnings. If the court approves your plan, the court
                $200             filing fee                                   will allow you to repay your debts, as adjusted by
    +            $75             administrative fee                           the plan, within 3 years or 5 years, depending on
                $275             total fee                                    your income and other factors.
                                                                              After you make all the payments under your plan,
    Similar to chapter 13, chapter 12 permits family                          many of your debts are discharged. The debts that
    farmers and fishermen to repay their debts over a                         are not discharged and that you may still be
    period of time using future earnings and to discharge                     responsible to pay include:
    some debts that are not paid.
                                                                                 domestic support obligations,
    Chapter 13: Repayment plan for
                individuals with regular                                         most student loans,
                income                                                           certain taxes,
                                                                                 debts for fraud or theft,
                $235             filing fee
    +            $75             administrative fee                              debts for fraud or defalcation while acting in a
                $310             total fee
                                                                                 fiduciary capacity,
                                                                                 most criminal fines and restitution obligations,
    Chapter 13 is for individuals who have regular income                        certain debts that are not listed in your
    and would like to pay all or part of their debts in                          bankruptcy papers,
    installments over a period of time and to discharge
    some debts that are not paid. You are eligible for                           certain debts for acts that caused death or
    chapter 13 only if your debts are not more than certain                      personal injury, and
    dollar amounts set forth in 11 U.S.C. § 109.
                                                                                 certain long-term secured debts.


           {initials:codebtor}                                                                                    {initials:debtor}


   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                     page 3
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                                                                        A married couple may file a bankruptcy case together -
      Warning: File Your Forms on Time                                  called a joint case. If you file a joint case and each spouse
                                                                        lists the same mailing address on the bankruptcy
      Section 521(a)(1) of the Bankruptcy Code requires                 petition, the bankruptcy court generally will mail you
      that you promptly file detailed information about                 and your spouse one copy of each notice, unless you file a
      your creditors, assets, liabilities, income, expenses             statement with the court asking that each spouse receive
      and general financial condition. The court may                    separate copies.
      dismiss your bankruptcy case if you do not file this
      information within the deadlines set by the
      Bankruptcy Code, the Bankruptcy Rules, and the                    Understand which services you
      local rules of the court                                          could receive from credit
                                                                        counseling agencies
      For more information about the documents and
      their deadlines, go to:                                           The law generally requires that you receive a credit
      http://www.uscourts.gov/bkforms/bankruptcy_form                   counseling briefing from an approved credit counseling
      s.html#procedure.                                                 agency. 11 U.S.C. § 109(h). If you are filing a joint case,
                                                                        both spouses must receive the briefing. With limited
                                                                        exceptions, you must receive it within the 180 days
    Bankruptcy crimes have serious                                      before you file your bankruptcy petition. This briefing
    consequences                                                        is usually conducted by telephone or on the Internet.
        If you knowingly and fraudulently conceal                       In addition, after filing a bankruptcy case, you generally
        assets or make a false oath or statement under                  must complete a financial management instructional
        penalty of perjury - either orally or in writing -              course before you can receive a discharge. If you are
        in connection with a bankruptcy case, you may                   filing a joint case, both spouses must complete the
        be fined, imprisoned, or both.                                  course.
        All information you supply in connection with
        a bankruptcy case is subject to examination by                  You can obtain the list of agencies approved to provide
        the Attorney General acting through the Office                  both the briefing and the instructional course from:
                                                                        http://www.justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        of the U.S. Trustee, the Office of the U.S.
        Attorney, and other offices and employees of
        the U.S. Department of Justice.                                 In Alabama and North Carolina, go to:
                                                                        http://www.uscourts.gov/FederalCourts/Bankruptcy/
    Make sure the court has your                                        BankruptcyResources/ApprovedCredit
    mailing address                                                     20AndDebtCounselors.aspx

    The bankruptcy court sends notices to the mailing                   If you do not have access to a computer, the clerk of the
    address you list on Voluntary Petition for Individuals              bankruptcy court may be able to help you obtain the list.
    Filing for Bankruptcy (Official Form 101). To ensure
    that you receive information about your case,
    Bankruptcy Rule 4002 requires that you notify the
    court of any changes in your address.




           {initials:codebtor}                                                                                    {initials:debtor}


   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                     page 4
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                       Case 20-71637-pmb                    Doc 1    Filed 11/11/20 Entered 11/11/20 17:25:23                                 Desc Main
                                                                    Document      Page 72 of 74
 Fill in this information to identify your case:
                                                                                                                  Check one box only as directed in this form and in
 Debtor 1                 Treasure                     Hutchinson                 Ketchum                         Form 122A-1Supp:
                          First Name                   Middle Name                Last Name
                                                                                                                     1. There is no presumption of abuse.
 Debtor 2                 Thomas                                                  Ketchum
 (Spouse, if filing)      First Name                   Middle Name                Last Name                          2. The calculation to determine if a presumption of
                                                                                                                     abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:       Northern                      District of Georgia                     Means Test Calculation (Official Form 122A-2).
                                                                                         (State)
 Case number                                                                                                         3. The Means Test does not apply now because of
 (If known)                                                                                                          qualified military service but it could apply later.

                                                                                                                     Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                         04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages,
write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily
consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
(Official Form 122A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income
  1.What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
           Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
           bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
           August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
           Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
           income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A                  Column B
                                                                                                          Debtor 1                  Debtor 2 or
                                                                                                                                    non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions                                   $0.00                     $1,649.84
    (before all payroll deductions).
  3. Alimony and maintenance payments. Do not include payments from a spouse if                           $0.00                     $0.00
    Column B is filled in.
  4. All amounts from any source which are regularly paid for household
    expenses of you or your dependents, including child support.
    Include regular contributions from an unmarried partner, members of your,
    household your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not                                 $0.00                     $0.00
    include payments you listed on line 3.
  5. Net income from operating a business, profession,            Debtor 1 Debtor 2
    or farm
    Gross receipts (before all deductions)                        $0.00     $0.00
    Ordinary and necessary operating expenses                    -$0.00    -$0.00
    Net monthly income from a business, profession, or farm $0.00           $0.00   copy
                                                                                    here                  $0.00                    $0.00
  6.Net income from rental and other real property                Debtor 1 Debtor 2
      Gross receipts (before all deductions)                         $0.00         $0.00
      Ordinary and necessary operating expenses                     -$0.00        -$0.00
      Net monthly income from rental or other real property          $0.00         $0.00           copy
                                                                                                   here   $0.00                    $0.00
  7. Interest, dividends, and royalties                                                                   $0.00                    $0.00




               {initials:codebtor}                                                                                                                 {initials:debtor}

   Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                page 1


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Debtor 1 Treasure                            Hutchinson                 Ketchum                     Case number (if known)
           First Name                        Middle Name                Last Name
                                                                                                 Column A                    Column B
                                                                                                 Debtor 1                    Debtor 2 or
                                                                                                                             non-filing spouse
 8.Unemployment compensation                                                                     $0.00                       $0.00
   Do not enter the amount if you contend that the amount received was a benefit
   under the Social Security Act. Instead, list it here:
   For you                                                  $0.00
   For your spouse                                          $0.00

 9.Pension or retirement income. Do not include any amount received that was a                   $0.00                       $0.00
   benefit under the Social Security Act. Also, except as stated in the next sentence,
   do not include any compensation, pension, pay, annuity, or allowance paid by
   the United States Government in connection with a disability, combat-related
   injury or disability, or death of a member of the uniformed services. If you received
   any retired pay paid under chapter 61 of title 10, then include that pay only to the
   extent that it does not exceed the amount of retired pay to which you would
   otherwise be entitled if retired under any provision of title 10 other than chapter 61
   of that title.
 10.Income from all other sources not listed above.Specify the source and
   amount. Do not include any benefits received under the Social Security Act;
   payments made under the Federal law relating to the national emergency declared
   by the President under the National Emergencies Act (50 U.S.C. 1601 et seq.)
   with respect to the coronavirus disease 2019 (COVID-19); payments received as a
   victim of a war crime, a crime against humanity, or international or domestic
   terrorism; or compensation, pension, pay, annuity, or allowance paid by the
   United States Government in connection with a disability, combat-related injury or
   disability, or death of a member of the uniformed services. If necessary, list other
   sources on a separate page and put the total below.



   Total amounts from separate pages, if any.                                                    +$0.00                      +$0.00


 11. Calculate your total current monthly income. Add lines 2 through 10 for                                         +                              =
                                                                                                  $0.00                      $1,649.84                       $1,649.84
 each
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                         Total current
                                                                                                                                                         monthly income
Part 2:   Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps:
   12a. Copy your total current monthly income from line 11.                                                      Copy line 11 here                      $1,649.84
        Multiply by 12 (the number of months in a year).                                                                                                  X 12
   12b. The result is your annual income for this part of the form.                                                                        12b.          $19,798.08

13 Calculate the median family income that applies to you. Follow these steps:
                                                                      Georgia
   Fill in the state in which you live.
                                                                         2
   Fill in the number of people in your household.
   Fill in the median family income for your state and size of household.                                                                    13.         $67,463.00
   To find a list of applicable median income amounts, go online using the link specified in the separate
   instructions for this form. This list may also be available at the bankruptcy clerk’s office.
14. How do the lines compare?
   14a.         Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                Go to Part 3. Do NOT fill out or file Official Form 122A-2
   14b.         Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                Go to Part 3 and fill out Form 122A-2.




          {initials:codebtor}                                                                                                                    {initials:debtor}

 Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                page 2
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Debtor 1 Treasure                          Hutchinson                  Ketchum                     Case number (if known)
           First Name                      Middle Name                 Last Name

Part 3:    Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



    û Signature
        {signature:debtor}
                of Debtor 1
                                                                                    û Signature
                                                                                        {signature:codebtor}
                                                                                                of Debtor 2

                11/11/2020
          Date {date:debtor____________}                                                      11/11/2020
                                                                                        Date {date:codebtor____________}
                MM/DD/YYYY                                                                    MM/DD/YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.
      If you checked line 14b, fill out Form 122A-2 and file it with this form.




          {initials:codebtor}                                                                                                                  {initials:debtor}

 Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                page 3
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